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                                    UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF NEW YORK

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NEW YORKERS FOR RELIGIOUS LIBERTY, INC.,
GENNARO AGOVINO, CURTIS CUTLER, LIZ
DELGADO, JANINE DEMARTINI, BRENDAN                                        Case No. 1:22-cv-00752
FOGARTY, SABINA KOLENOVIC, KRISTA O’DEA,
DEAN PAOLILLO, DENNIS PILLET, MATTHEW
RIVERA, LAURA SATIRA, FRANK SCHIMENTI,
JAMES SCHMITT, individually and on behalf of all                          COMPLAINT FOR
other persons similarly situated,                                         DECLARATORY AND
                                                                          INJUNCTIVE RELIEF AND
                                     Plaintiffs,                          DAMAGES

          - against -

THE CITY OF NEW YORK; ERIC ADAMS, in his                                  JURY TRIAL DEMANDED
official capacity as Mayor of the City of New York,
DAVE CHOKSHI, in his official capacity as Health
Commissioner of the City of New York, and ROBERTA
REARDON, in her capacity as New York State
Commissioner of Labor,

                                     Defendants.
--------------------------------------------------------------------- x

  “The Religion then of every man must be left to the conviction and conscience of every man; and it
 is the right of every man to exercise it as these may dictate. This right is in its nature an unalienable
 right. It is unalienable, because the opinions of men, depending only on the evidence contemplated
 by their own minds cannot follow the dictates of other men: It is unalienable also, because what is
 here a right towards men, is a duty towards the Creator. It is the duty of every man to render to the
 Creator such homage and such only as he believes to be acceptable to him.”

 ― James Madison, A Memorial And Remonstrance, On The Religious Rights Of Man: Written In
 1784-85

      Plaintiffs, proceeding as individuals and as a proposed class, herein complain of the Defendants as

 follows:

                                                NATURE OF ACTION

 1.       Named Plaintiffs and Class members are New York City employees, employee unions and


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non-employee individuals who are required by various public health mandates issued by the

Defendants to receive vaccination against the COVID-19 virus.

2.     Plaintiffs allege violations of their fundamental religious and constitutional rights. On behalf

of themselves and all others similarly situated, they seek declaratory and injunctive relief, as well as

reinstatement, nominal, compensatory, actual and punitive damages, attorneys’ fees and other

remedies, for harms arising from the vaccination mandates listed on the Appendix to this complaint

(collectively, the “Mandates”), and discriminatory policies adopted by the Defendants in the

implementation of the Mandates.

3.     Collectively and individually, the Mandates violate fundamental constitutional rights, both

facially and as applied through general practice and to individuals, arbitrarily and capriciously

discriminate against individuals with sincere religious objections to vaccination– even though the

individuals pose no direct threat to others because of their religious or medical needs– and place

unconstitutional conditions on employment.

4.     In implementing the Mandates, state actors working on behalf of the City of New York

adopted facially unconstitutional standards and policies subjecting Plaintiffs and thousands of other

individuals to per se unconstitutional heresy inquisitions and other religious harassment.

5.     The leaders of New York City sanctioned and encouraged this discrimination. In press

briefings, former Mayor Bill de Blasio made statements clarifying that the City adopted a preference

for the Pope’s viewpoint about what “scripture” requires on the topic of vaccines, expressed hostility

towards religious opposition to vaccination as largely “invalid,” stated that the City would be openly

preferencing Christian Scientists and Jehovah’s Witnesses, and said that to get an exemption,

applicants would have to be a “standing member of a faith that has a very, very specific long-standing

objection” to vaccination according to the Mayor’s religious viewpoint. Mayor de Blasio further


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stated that the City would discriminate against anyone with beliefs that fall under the definition of

heresy—that is, less widely recognized, unorthodox or personally held religious beliefs.

6.      Under the ex-Mayor’s openly discriminatory standard, people with personally held religious

beliefs or unorthodox religious beliefs were expressly supposed to be (and were) singled out for

discriminatory treatment by the defendants even though their beliefs are sincere.

7.      In addition to being discriminatory, the Mandates are irrational.

8.      COVID-19 vaccine mandates cannot stop the spread of SARS-CoV-2. The vaccines may blunt

the severity of the disease, but the evidence does not support an assumption that they stop infection

with and transmission of SARS-CoV-2 to others.

9.      Moreover, there are far less invasive measures available to ensure public safety than forcing

individuals to violate their deeply held religious beliefs or lose their jobs.

10.     The Mandates are an outlier. No other city in the state requires vaccination as a condition of

employment for all workers.

11.     They are also overbroad. There is no option to get tested in lieu of vaccination in these

Mandates. Nor is natural immunity recognized, even though the data overwhelmingly shows that

natural immunity is more robust and durable than vaccine immunity. Moreover, remote employees are

not allowed an exemption or accommodation, even those who can easily work outside of an office due

to the nature of their work.

12.     By the same token, the Mandates are underinclusive. In limiting its scope to the covered entity,

group or individuals, each Mandate fails to include all other people, groups or organizations in New

York City who fall within the declared statutory purpose of resolving the Covid-19 pandemic. And,

many have carve outs for various secular categories of persons.

13.     Excluding unvaccinated staff has not proven to have any impact on mitigating the spread of


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COVID-19. For example, before the DOE’s unvaccinated staff were excluded on October 4, 2021, the

average number of infections for all staff across the New York City school district was about 40 active

infections at a time for the first month of school. This, despite an outsize delta variant outbreak.

14.        After exclusion of all unvaccinated teachers, average percent of DOE staff infected remained

largely the same, and followed the same curve as the outbreaks in the largely unvaccinated student

population. Last month, numbers were regularly in the thousands for daily infections, rising as high as

over 5,000 actively infected fully vaccinated staff in early January.

15.        Currently, there are many staff members infected among the fully vaccinated DOE staff. This

is in large part due to the Omicron variant. Vaccination has proven ineffective at stopping infection

with the now dominant Omicron variant.

16.        Perhaps most shocking, because such a large percentage of the fully vaccinated staff is currently

infected with COVID-19, and because the exclusion of unvaccinated teachers has already caused a massive

staffing crisis, the DOE adopted the recommendation that actively infected teachers should return to school

without testing to mitigate the staffing crisis. See, e.g., Juliana Kaplan, Short-taffed NYC schools are asking

teachers      with   mild   COVID      symptoms    to       return   to   the   classroom,   Business   Insider,

https://www.businessinsider.com/teacherscan-return-to-classroom-after-positive-covid-test-mild-symptoms-

2022-1.

17.        DOE data supports multiple reputable studies, showing that high vaccine uptake does not slow

the spread of the virus or reduce infection rates.

18.        As one of many examples, a recent Harvard study found that “there appears to be no

discernable relationship between percentage of population fully vaccinated and new COVID-19

cases.” Subramanian S. V. & Akhil Kumar, Increases in COVID-19 are unrelated to levels of

vaccination across 68 countries and 2947 counties in the United States, European Journal of

Epidemiology, 1-4, Sep. 30, 2021, doi: 10.1007/s10654-021-00808-07.
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19.     There is simply no way to achieve herd immunity with these vaccines. Public health officials

and experts have unanimously acknowledged that we cannot vaccinate our way out of this virus. Most

people, regardless of vaccine status, will eventually get COVID-19, and we are going to have to learn

to live with it as endemic to our societies.

20.     Yesterday, Dr. Fauci admitted that most pandemic restrictions will likely end soon, stating in

an interview with the Times of Israel that “there is no way we are going to eradicate this virus.”

Countries around the world have ceased COVID zero policies like mandates and lockdowns, and are

beginning to face the fact that sacrificing our liberties and important fundamental rights cannot stop

the spread of virus, and has serious consequences of its own.

                                               THE PARTIES

Plaintiffs

21.     Plaintiff New Yorkers for Religious Liberty, Inc. (“NYFRL”) is a validly existing corporation

organized under the New York State Not-For-Profit Corporation Law. Its certificate of incorporation

states that among its purposes is “to educate the public and to advocate for religious freedom of all

persons, regardless of belief or creed.”

22.     Plaintiff Gennaro Agovino (“Agovino”) is employed by the New York City Department of

Corrections (“DOC”). Agovino has not received a COVID-19 vaccination or been infected with

COVID-19.

23.     Plaintiff Curtis Cutler (“Cutler”) has been employed by the New York City Department of

Sanitation (“DSNY”) since 2014.

24.     Plaintiff Liz Delgado (“Delgado”) has been employed by the City for the past 30 years. She

has been an employee of the New York City Department of Investigation (“DOI”) since 2016.

25.     Plaintiff Janine DeMartini (“DeMartini”) worked as a social worker/therapist for the Child


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Study Center of New York (“CSCNY”), a private preschool program for special needs children, from

October 2018 until her employment was terminated by her employer because she was not yet

vaccinated.

26.     Plaintiff Brendan Fogarty (“Fogarty”) has been employed by the New York City Fire

Department (“FDNY”) for nearly twenty years. He has held the rank of Fire Department Captain for

the past two years.

27.     Plaintiff Sabina Kolenovic (“Kolenovic”) has worked for the New York City Department of

Education (“DOE”) for eight years.

28.     Plaintiff Krista O’Dea has been employed by FDNY for the past 16 years. She currently works

as a Rescue Medic.

29.     Plaintiff Dean Paolillo began to work for the New York City Police Department (“NYPD”) in

2021.

30.     Plaintiff Dennis Pillet was employed by FDNY as an emergency medical technician until he

was put on leave without pay in December, 2021 for failure to submit to COVID-19 vaccination.

31.     Plaintiff Matthew Rivera has been an employee of Consolidated Edison, Inc. (“ConEd”), a

private employer, for the past 13 years. He works in a customer payment center in New York City.

32.     Plaintiff Laura Satira (“Satira”) worked until December 16, 2021 for St. Bernard’s Catholic

Academy (“St. B.”) as an early childhood resource teacher.

33.     Plaintiff Frank Schimenti has worked for the City for the past 25 years, and has worked for the

New York City Department of Buildings (“DOB”) for 23 years, most recently as the Assistant Chief

Plan Examiner and Project Advocate for the Borough of Staten Island.

34.     Plaintiff James Schmitt has worked as a plumber for the New York City Department of Parks

and Recreation (“DOPR”) for the past 13 years.


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        Defendants

35.     Defendant City of New York (the “City”) is a municipal corporation constituting the local

municipal government of the population residing in New York, Bronx, Queens, Kings and Richmond

Counties in New York State. The Fiorst Amendment of the United States Constitution applies to this

defendant by virtue of the Fourteenth Amendment. The City operates and employs people through

agencies, including the DOB, DOC, DOE, DOI, DOPR, DSNY, FDNY and NYPD, among others.

36.     Defendant Eric Adams (“Mayor Adams”) is the Mayor of the City. Sued in his official

capacity, Mayor Adams is responsible for setting and overseeing the policies of the City and the

manner in which they are maintained, applied and enforced. Mayor Adams acted at all times under

color of law in the acts attributed to him herein.

37.     Defendant David Chokshi (“Commissioner Chokshi”) is the Commissioner of Health and

Mental Hygiene of the City of New York (“DOHMH”). Sued in his official capacity, Commissioner

Chokshi promulgated the Mandates. Commissioner Chokshi acted at all times under color of law in

the acts attributed to him herein.

38.     Roberta Reardon (“Commissioner Reardon”) is the Commissioner of Labor of the State of

New York. Sued in her official capacity, Commission Reardon is responsible for setting and

overseeing the policies of the New York State Department of Labor, including without limitation its

regulations and definitions concerning unemployment insurance, and the manner in which they are

maintained, applied and enforced. Commissioner Reardon acted at all times under color of law in the

acts attributed to her herein.

                                     JURISDICTION AND VENUE

39.     This court has jurisdiction to adjudicate all federal claims raised in this matter under 28 U.S.C.

§ 1331, which confers original jurisdiction on federal district courts to hear suits arising under the


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laws and Constitution of the United States; the Supremacy Clause of the Constitution of the United

States, which allows federal district courts to hear suits alleging preemption of state and local laws by

the Constitution and federal laws made in pursuance thereof; and 42 U.S.C. § 1983 and 28 U.S.C. §

1343 in relation to Defendants’ deprivation and infringement under color of law of the Plaintiffs’

rights, privileges, and immunities secured by the United States Constitution and laws, as detailed

further herein.

40.     This Court has the authority to award the requested declaratory relief under 28 U.S.C. § 2201;

the requested injunctive relief under 28 U.S.C. § 1343(a); and attorney’s fees and costs under 42

U.S.C. § 1988.

41.     Venue is proper in the United States District Court for the Eastern District of New York for

this action pursuant to 28 U.S.C. § 1391(b)(1) and (2) because it is the district in which Defendants

unlawfully deprived many of the Plaintiffs and Class members of their rights under the laws and

Constitution of the United States, as further alleged herein. It is also the district in which a substantial

part of the events giving rise to Plaintiffs’ claims occurred and continue to occur.

                                   CLASS ACTION ALLEGATIONS

42.     The Plaintiffs bring this class action pursuant to Rule 23 in their representative capacity on

behalf of themselves and the Class of all others similarly situated as defined in this complaint.

Plaintiffs propose a Class consisting of all persons whose employment has been harmed or threatened

by the City’s mandates because they have religious objections to vaccination against COVID-19 (the

“Class”).

43.     This action meets the following prerequisites of Rule 23(a):

            a. Numerosity: The Class includes thousands of members. Due to the high number of

                  class members, joinder of all members is impracticable and, indeed, virtually


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        impossible.

     b. Ascertainability: The proposed Class is ascertainable. Every Plaintiff is employed

        directly or indirectly by the DOE. Anyone who asserts that they have religious

        objections to the DOE Mandates is eligible to join the class.

     c. Commonality: A substantial pool of common questions of law and fact exists among

        the Class, including but not limited to:

            i. Whether the DOE adopted facially discriminatory policies and practices for

                determining religious exemptions and suspended or otherwise adversely

                impacted the employment conditions of thousands of employees pursuant to

                these policies;

            ii. Whether the Mandates are subject to strict scrutiny on its face;

           iii. Whether the Mandates are subject to strict scrutiny as applied through facially

                unconstitutional and discriminatory Exemption Standards;

           iv. Whether the Mandates as implemented can survive strict scrutiny, including

                whether there are less restrictive means of mitigating the spread of COVID-19;

            v. Whether the First Amendment applies to determinations about the validity of

                religious beliefs made by state actors considering religious exemption and

                accommodation, and what standard of review is required to assess those

                determinations;

           vi. The irrationality and arbitrariness of particular provisions of the Mandates;

           vii. Appropriate remedies to address the discrimination that occurred.

     d. Typicality: Named Plaintiffs’ claims are typical of the claims of the Class. Plaintiffs

        are all directly or indirectly employed by the DOE. The harm suffered by Plaintiffs and


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         the cause of such harm is representative of the respective Class.

              i. The claims or defenses of the Named Plaintiffs and the Class arise from the

                 same events and actions by Defendants and are based on the same legal theory.

             ii. The Named Plaintiffs include most subgroups of the proposed Class– including

                 inter alia those who declined to apply under the facially discriminatory

                 Exemption Standards policy because it appeared futile or offensive, those who

                 applied initially, were denied and then appealed, those who were denied and

                 declined to appeal under the facially discriminatory Exemption Standards

                 policy, those who were granted appeal hearings, those who were not given a

                 chance for a hearing on appeal, those who were accepted in their zoom appeal,

                 those who were denied on appeal, those who were accepted after second review

                 by the “Citywide Panel” and those who were denied after second review by the

                 “Citywide Panel.”

            iii. Since preliminary injunctive relief was already afforded to the diverse Plaintiffs

                 collectively by the Second Circuit without distinction among the subcategories,

                 it follows that they and those similarly situated have enough commonality to

                 meet the standards under Rule 23.

      e. Adequacy: Plaintiffs will fairly and adequately protect the interests of the Class.

      f. Plaintiffs do not have any interests that conflict with the interests of the members of the

         Class. Plaintiffs have engaged competent counsel who are experienced in complex

         litigation, including class actions.

      g. Superiority: A class action is superior to alternatives, if any, for the timely, fair, and

         efficient adjudication of the issues alleged herein. A class action will permit numerous


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             similarly situated individuals to prosecute their common claims in a single forum

             simultaneously without duplication of evidence, expense, and resources. This action

             will result in uniformity of decisions and avoid risk of inconsistency and incompatible

             standards of conduct in the judicial system. It will also more efficiently allow

             adjudication of the pattern and practice claims.

         h. Maintainability: This action is properly maintainable as a class action for the above-

             mentioned reasons and under Rule 23(b):

                 i. The individual amount of restitution involved is often so insubstantial that the

                    individual remedies are impracticable and individual litigation too costly;

                ii. Individual actions would create a risk of inconsistent results and duplicative

                    litigation;

               iii. Defendants have acted or refused to act on grounds generally applicable to the

                    Class, thereby rendering final injunctive relief or declaratory relief appropriate

                    for the Class as a whole; and

                iv. Individual actions would unnecessarily burden the courts and waste judicial

                    resources.

         i. Predominance: The questions of law or fact common to Class Members predominate

             over any questions that may affect only individual members, and a class action is

             superior to other available methods for fairly and efficiently adjudicating the

             controversy.

                              FACTS COMMON TO ALL CLAIMS

44.   In March 2020, ex-Governor Cuomo declared a state of emergency due to the emergence of

the COVID-19 pandemic. On March 20, 2020, he signed the “New York State on PAUSE” executive


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order, which inter alia closed non-essential businesses throughout New York State and banned all

non-essential gatherings of any kind. New York State and New York City began to pursue a policy of

masking, social distancing, quarantines and shut-downs to control the pandemic.

45.      On March 12, 2020, Mayor de Blasio issued Emergency Executive Order No. 98 declaring a

state of emergency in the City posed by COVID-19.

46.      On March 25, 2020, Commissioner Chokshi declared the existence of a public health

emergency within the City to address COVID-19.

47.      Throughout New York City and elsewhere, businesses and public authorities transitioned to

remote work and tele-commuting wherever possible.

48.      In March 2020, the New York City Department of Education (“DOE”) closed all schools in its

system, pivoting to a program of system-wide remote instruction. All school personnel and students

participated in school activities through remote means.

49.      On June 8, 2020, New York City began reopening, putting in place safety protocols that

included limitations on occupancy of public interior spaces.

50.      In December, 2020, the US Food & Drug Administration authorized the first vaccinations

using newly-developed vaccines against COVID-19. Due to limited supplies, vaccines were available

at first only to health-care workers, nursing-home residents and persons who were 75 years of age and

older.

51.      In January, 2021, New York State lowered its minimum age for vaccine administration to 65.

The following month, New York City made vaccines available to restaurant workers and taxi drivers,

and reopened public middle schools for in-person instruction.

52.      In March 2021, public high schools reopened in New York City, restricted businesses

including fitness classes resumed, and the vaccine eligibility age was lowered to 50.


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53.     On June 23, 2021, ex-Governor Cuomo issued a declaration that the state of emergency due to

COVID-19 was officially over in New York. On July 1, 2021, ex-Mayor de Blasio re-opened New

York City without restriction.

54.     On July 20, 2021, despite the absence of any new emergency, Commissioner Chokshi issued

an order requiring staff in public healthcare and clinical settings to demonstrate proof of COVID-19

vaccination or undergo weekly testing.

55.     On July 26, 2021, Mayor de Blasio announced his plan to implement a vax-or-test mandate

pursuant to which all city workers were going to be required to complete their vaccine series by

September 13, 2021, or undergo a weekly virus test. Until then, unvaccinated workers would be

required to wear masks at work starting on August 2, 2021. The vax-or-test element of this planned

policy was superseded, with respect to most City employees, by later announcements, and never came

fully into effect.

56.     By the end of July 2021, the scientific consensus among world public health leaders coalesced

around three facts: (1) vaccinated people could still catch and spread SARS-CoV-2 and were equally

as infectious as unvaccinated people when they did; (2) herd immunity could not be achieved with

presently available vaccines; (3) vaccine protection wanes significantly after a short period of time.

Entire governments began to acknowledge that we will need to learn to live with COVID-19 as an

endemic part of human life, and everyone (vaccinated and unvaccinated alike) will at some point

catch and spread COVID-19.

57.     Nonetheless, on August 3, 2021, Mayor de Blasio declared war on the unvaccinated,

announcing a “Key to New York City” pass which intentionally excludes unvaccinated people from

accessing basic aspects of life in New York in a blatant effort to coerce them to get vaccinated with

one of the still-experimental COVID-19 vaccines. At a press conference, he described the goals of the


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program as follows:

        The key to New York City – when you hear those words, I want you to imagine the notion that
        because someone's vaccinated, they can do all the amazing things that are available in this city.
        This is a miraculous place literally full of wonders. And, if you're vaccinated, all that's going
        to open up to you. You'll have the key. You can open the door. But, if you're un-vaccinated,
        unfortunately, you will not be able to participate in many things. That's the point we're
        trying to get across. It's time for people to see vaccination as literally necessary to living a
        good and full and healthy life. The Key to NYC Pass will be a first-in-the-nation approach. It
        will require vaccination for workers and customers in indoor dining, in indoor fitness facilities,
        indoor entertainment facilities. This is going to be a requirement. The only way to patronize
        these establishments indoors will be if you're vaccinated, at least one dose. The same for folks
        in terms of work, they'll need at least one dose. This is crucial because we know that this will
        encourage a lot more vaccination. 1
58.      No religious exemptions exist under the Key to NYC program, leaving religious minorities

unable to participate in fundamental aspects of life in the City, including aspects “literally necessary

to living a good and full and healthy life” according to the mayor.

59.     Two days after the “Key to NYC” was announced, on August 5, 2021, Wolf Blitzer

interviewed CDC Director Rochelle Walensky (“Dr. Walensky”) on CNN. Dr. Walensky clarified that

the data on vaccine effectiveness against the then-dominant delta variant are conclusive: though the

vaccines appeared to prevent severe illness, they cannot stop infection or transmission. “But what they

can’t do anymore is prevent transmission.” When asked if asymptomatic vaccinated people could pass

on the virus, Dr. Walensky said, “that’s exactly right.” 2

60.     Instead of pausing his mandates, Mayor de Blasio began what appears to be a crusade in

earnest against the unvaccinated, intruding his ever-expanding mandates into the workplace.

61.     On August 10, 2021, Commissioner Chokshi issued an order requiring staff providing City

operated or funded services in residential and congregate settings to demonstrate proof of COVID-19

vaccination or undergo weekly testing.


        1
         https://www1.nyc.gov/office-of-the-mayor/news/539-21/transcript-mayor-de-blasio-holds-media-availability
        2
         http://www.cnn.com/TRANSCRIPTS/2108/05/sitroom.02.html
1.

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62.    On August 16, 2021, the City issued the first of what eventually became scores of major and

minor COVID-19 vaccine mandates issued between that date and now. In his Emergency Executive

Order No. 225, Mayor de Blasio promulgated rules putting his Key to New York City program into

effect and incorporating the terms that he had announced in early August, including mandatory

vaccination of all employees working in establishments covered by the order.

63.    No religious exemptions were offered under any of the early “Key to New York City” program

Mandates. The religious exemption was purposefully left out due to the ex-Mayor's hostility towards

religious objections to vaccination.

64.    In discussing his planned vax-or-test policy in mid-August 2021, Mayor de Blasio remarked

that he hoped that the testing requirements would be so burdensome that people would need to get

vaccinated to avoid them – demonstrating his animus toward persons who refused to get vaccinated

for religious or other reasons.

65.    On August 20, 2021, Mayor de Blasio issued Emergency Executive Order No. 226,

substituting new rules for the Key to NYC program for those he had issued in E.E.O. 225.

66.    Then, on August 23, 2021, once again with no justification from the data or case numbers,

Mayor de Blasio and Commissioner Chokshi announced that employees of the New York City

Department of Education (“DOE”) would not have an option to undergo weekly testing but would

now be terminated if they did not receive at least their initial COVID-19 vaccinations by September

27, 2021. As announced, the new policy did not allow exemptions for any reason.

67.    On August 24, 2021, Commissioner Chokshi promulgated a written vaccine mandate

(“Original DOE Mandate”), incorporating the policy announced on August 23rd. The Original DOE

Mandate included no exemptions for employees of DOE, no matter whether they were employed in




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DOE school buildings or remotely (with various exceptions for certain categories of employees or

reasons other than religious accommodation provided).

68.     Lawsuits and labor disputes ensued. Mass protests erupted and continue to be held.

69.     The DOE openly refused to agree to consider any religious exemptions or accommodations to

the policy as the parties tried to negotiate.

70.     On August 25, 2021, Mayor de Blasio issued Emergency Executive Order No. 228, which

revised his August 20 order (E.E.O. 226) to recognize that the law required employers covered by the

Key to NYC rules to provide reasonable accommodations to employees as required by law.



Arbitration and Initial Lawsuits Forced the City to Agree to Accommodate Religious Beliefs

71.     On September 1, 2021, the United Federation of Teachers, Local 2, AFT, AFL-CIO (“UFT”)

filed a Declaration of Impasse. The challenge moved to arbitration.

72.     On September 10, 2021, an arbitrator, Martin F. Scheinman, issued an order in the UFT

Arbitration (“UFT Award”) that required DOE to permit religious exemptions to its vaccine

requirements, but imposed unconstitutional restrictions on the criteria and manner in which requests

for such exemptions were to be determined and draconian consequences for unvaccinated DOE

employees, even those who did receive an exemption (collectively “Exemption Standards.”)

73.     Arbitrator Scheinman has held public fundraisers for Mayor de Blasio and is a major donor.

His neutrality is in question.

74.     On information and belief, the discriminatory religious exemption criteria provisions of the

UFT Award were composed almost entirely of language and procedures proposed by the City.



Unconstitutional Exemption Standards Formally Adopted by DOE


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75.        Inter alia, the UFT Award contained the following provisions:

      a.   As an alternative to any statutory reasonable accommodation process, the City, the Board of

           Education of the City School District for the City of New York (the "DOE"), and the United

           Federation of Teachers, Local 2, AFT, AFL-CIO (the "UFT), (collectively the "Parties") shall

           be subject to the following Expedited Review Process to be implemented immediately for full-

           time staff, H Bank and nonpedagogical employees who work a regular schedule of twenty (20)

           hours per week or more inclusive of lunch, including but not limited to Occupational

           Therapists and Physical Therapists, and Adult Education teachers who work a regular schedule

           of twenty (20) or more hours per week. This process shall only apply to (a) religious and

           medical exemption requests to the mandatory vaccination policy ... Id. At 6-7, Section I.

      b. Any requests to be considered as part of this process must be submitted via the SOLAS system

           no later than Monday, September 20, 2021, by 5:00 p.m. Id.

      c. Religious exemptions for an employee to not adhere to the mandatory vaccination policy must

           be documented in writing by a religious official (e.g., clergy). Requests shall be denied where

           the leader of the religious organization has spoken publicly in favor of the vaccine, where the

           documentation is readily available (e.g., from an on line source), or where the objection is

           personal, political, or philosophical in nature. Exemption requests shall be considered for

           recognized and established religious organizations (e.g., Christian Scientists). Id. at 9, Section

           I.C.

      d. The initial determination of eligibility for an exemption or accommodation shall be made by

           staff in the Division of Human Capital in the Office of Medical, Leaves and Benefits; the

           Office of Equal Opportunity; and Office of Employee Relations. These determinations shall be

           made in writing no later than Thursday, September 23, 2021, and, if denied, shall include a


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     reason for the denial. Id. at 9-10, Section I.E.

e.   If the employee wishes to appeal a determination under the identified criteria, such appeal

     shall be made in SOLAS to the DOE within one (1) school day of the DOE's issuance of the

     initial eligibility determination. The request for appeal shall include the reason for the appeal

     and any additional documentation. Following the filing of the appeal, any supplemental

     documentation may be submitted by the employee to the Scheinman Arbitration and

     Mediation Services ("SAMS") within forty eight (48) hours after the filing of the appeal. If the

     stated reason for denial of a medical exemption or accommodation request is insufficient

     documentation, the employee may request from the arbitrator and, upon good cause shown, the

     arbitrator may grant an extension beyond forty eight (48) hours and permit the use of CAR

     days after September 27, 2021, for the employee to gather the appropriate medical

     documentation before the appeal is deemed submitted for determination. Id. at 10, Section I.F.

f. A panel of arbitrators identified by SAMS shall hear these appeals, and may request the

     employee or the DOE submit additional documentation. The assigned arbitrator may also

     request information from City and/or DOE Doctors as part of the review of the appeal

     documentation. The assigned arbitrator, at his or her discretion, shall either issue a decision on

     the appeal based on the documents submitted or hold an expedited (virtual) factual hearing. If

     the arbitrator requests a factual hearing, the employee may elect to have a union representative

     present but neither party shall be required to be represented by an attorney at the hearing. The

     expedited hearing shall be held via Zoom telecommunication and shall consist of brief opening

     statements, questions from the arbitrator, and brief closing statements. Cross examination shall

     not be permitted. Any documentation submitted at the arbitrator's request shall be provided to

     the DOE at least one (1) business day before the hearing or the issuance of the written decision


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   without hearing. Id. at 10-11, Section I.G.

g. Appeal decisions shall be issued to the employee and the DOE no later than Saturday

   September 25, 2021. Appeal decisions shall be expedited without full Opinion, and final and

   binding. Id. at 11, Section I.H.

h. While an appeal is pending, the exemption shall be assumed granted and the individual shall

   remain on payroll consistent with Section K below. However, if a larger number of employees

   than anticipated have a pending appeal as of September 27, 2021, as determined by SAMS,

   SAMS may award different interim relief consistent with the parties' intent. Those employees

   who are vaccinated and have applied for an accommodation shall have the ability to use CAR

   days while their application and appeal are pending. Should the appeal be granted, these

   employees shall be reimbursed any CAR days used retroactive to the date of their initial

   application. Id. at 11-12, Section I.I.

i. An employee who is granted a [ ] religious exemption [ ] under this process and within the

   specific criteria identified above shall be permitted the opportunity to remain on payroll, but in

   no event required/permitted to enter a school building while unvaccinated, as long as the

   vaccine mandate is in effect. Such employees may be assigned to work outside of a school

   building (e.g., at DOE administrative offices) to perform academic or administrative functions

   as determined by the DOE while the exemption and/ or accommodation is in place. [ ]

   Employees so assigned shall be required to submit to COVID testing twice per week for the

   duration of the assignment. Id. at 12-13, Section I.K.

j. The process set forth, herein, shall constitute the exclusive and complete administrative

   process for the review and determination of requests for religious and medical exemptions to

   the mandatory vaccination policy and accommodation requests where the requested


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   accommodation is the employee not appear at school. The process shall be deemed complete

   and final upon the issuance of an appeal decision. Should either party have reason to believe

   the process set forth, herein, is not being implemented in good faith, it may bring a claim

   directly to SAMS for expedited resolution. Id. at 13, Section I. L.

k. Any unvaccinated employee who has not requested an exemption pursuant to Section 1, or

   who has requested an exemption which has been denied, may be placed by the DOE on leave

   without pay effective September 28, 2021, or upon denial of appeal, whichever is later,

   through November 30, 2021. Such leave may be unilaterally imposed by the DOE and may be

   extended at the request of the employee consistent with Section III(B), below. Placement on

   leave without pay for these reasons shall not be considered a disciplinary action for any

   purpose. Id. at 13, Section II.A.

l. During such leave without pay, employees shall continue to be eligible for health insurance.

   As with other DOE leaves without pay, employees are prohibited from engaging in gainful

   employment during the leave period. Id. at 14, Section II.C.

m. During the period of September[ ] 28, 2021, through October 29, 2021, any employee who is

   on leave without pay due to vaccination status may opt to separate from the DOE. In order to

   separate under this Section and receive the commensurate benefits, an employee must file a

   form created by the DOE which includes a waiver of the employee's rights to challenge the

   employee's involuntary resignation, including, but not limited to, through a contractual or

   statutory disciplinary process. If an employee opts to separate consistent with this Section, the

   employee shall be eligible to be reimbursed for unused CAR days on a one (1) for one (1)

   basis at the rate of 1/200th of the employee's salary at departure per day, up to 100 days, to be

   paid following the employee's separation with documentation including the general waiver and


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   release. Employees who elect this option shall be deemed to have resigned involuntarily

   effective on the date contained in the general waiver as determined by the DOE, for non-

   disciplinary reasons. An employee who separates under this Section shall continue to be

   eligible for health insurance through September 5, 2022, unless they are eligible for health

   insurance from another source (e.g., a spouse's coverage or another job). Id. at 16, Section

   III.A.

n. During the period of November 1, 2021, through November 30, 2021, any employee who is on

   leave without pay due to vaccination status may alternately opt to extend the leave through

   September 5, 2022. In order to extend this leave pursuant to this Section, and continue to

   receive the commensurate benefits, an employee must file a form created by the DOE which

   includes a waiver of the employee's rights to challenge the employee's voluntary resignation,

   including, but not limited to, through a contractual or statutory disciplinary process.

   Employees who select this option shall continue to be eligible for health insurance through

   September 5, 2022. Employees who comply with the health order and who seek to return from

   this leave, and so inform the DOE before September 5, 2022, shall have a right to return to the

   same school as soon as is practicable but in no case more than two (2) weeks following notice

   to the DOE. Existing rules regarding notice of leave intention and rights to apply for other

   leaves still apply. Employees who have not returned by September 5, 2022, shall be deemed to

   have voluntarily resigned. Id. at 17, Section III.B.

o. Beginning December 1, 2021, the DOE shall seek to unilaterally separate employees who have

   not opted into separation under Sections III(A) and III(B). Except for the express provisions

   contained, herein, all parties retain all legal rights at all times relevant, herein. Id. at 17,

   Section III.C.


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76.     On September 15, 2021, Arbitrator Scheinman issued a second arbitral award in a negotiation

between the DOE and the Council of Supervisors and Administrators (“CSA”), which represents DOE

employees in supervisory and administrative positions. The CSA Award mirrored the UFT Award.

77.     On information and belief, through arbitration awards and union agreements with City

agencies, multiple agencies of the City set up programs for adjudication of appeals from exemption

denials by SAMS Appeal arbitrators, implementing the City’s unconstitutional policy restricting

religious exemptions from the Mandates and targeting unorthodox religious viewpoints for special

disability.

78.     The DOE was the first City agency officially to adopt the religious accommodation policy set

forth by Arbitrator Scheinman, including the Exemption Standards for the evaluation of religious

exemption or accommodation requests, as policy.

79.     None of the collective bargaining agreements applicable to Plaintiffs contains a waiver

provision waiving individual employees’ right to sue in court for discrimination or constitutional

violations.

80.     None of the Plaintiffs consented to permit any union to process a grievance concerning the

Defendants’ attempt to deprive them of their constitutional rights and, on information and belief,

neither did any of the Class members.

81.     Sixteen labor unions representing employees of DOE filed a lawsuit (“Municipal Labor

Committee Litigation”) in the New York State Supreme Court in New York County on or about

September 9, 2021 mounting a facial challenge to the constitutionality of the Original DOE Mandate. 3

82.     Justice Laurence Love issued a Temporary Restraining Order in the Municipal Labor

Committee Litigation against enforcement of the Original DOE Mandate because it failed to provide




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for religious and medical exemptions.

83.        The next day, Commissioner Chokshi issued a new mandate (as amended on September 28,

2021, the “DOE Mandate”), which rescinded the Original DOE Mandate, as amended. The

amendment extended the vaccination requirement to staff of charter schools and their contractors, but

it still did not apply to schoolchildren. The primary change was that following language was also

added as part of the DOE Mandate: “Nothing in this Order shall be construed to prohibit any

reasonable accommodations otherwise required by law.”

84.        Justice Love dissolved the TRO on the City’s promise that they would no longer oppose

offering legally required reasonable religious and medical accommodation.

85.        The City’s promise was empty, as they admitted that the process was meant to preclude most

applications.

           DOE’s Initial Implementation of the DOE Mandate

86.        The Exemption Standards provided the exclusive procedure pursuant to which DOE

employees were able to file applications for religious exemptions from the DOE Mandate.

87.        Upon information and belief, at least five thousand DOE employees filed religious-based

requests for exemption from the DOE Mandate on or before the deadline. Most of those persons were

given only one or two days’ notice before the submission deadline to prepare their applications.

88.        All DOE Initial Review applications were immediately denied through an autogenerated form

email stating that any accommodation would be an “undue hardship” for DOE. This same email was

even sent to DOE employees who already worked remotely and those who could easily be

accommodated remotely (such as IT or administrative positions). Applicants were given one day to

file an appeal with the SAMS arbitration firm, which provided the exclusive method of appeal, and


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    New York City Municipal Labor Committee, et al., v. The City of New York, et al., No. 158368/2021 (N.Y. Co.).

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which required conformity with the Exemption Standards.

89.     Pursuant to the DOE’s blatantly unconstitutional religious accommodation policy, thousands

of DOE employees were denied religious accommodation and suspended without pay beginning

October 4, 2021. 4

90.     Pursuant to Section II.A of the Exemption Standards, they were eligible to receive health

insurance for a finite period but “prohibited from engaging in gainful employment” under Section II.C

thereof.

91.     Pursuant to Section III of the Exemption Standards, those unvaccinated employees of DOE

whose exemption applications were denied were faced with a Hobson’s Choice between two

alternatives: (1) they had an option to “choose” to “separate” from DOE, lose their tenure and careers,

but remain eligible for health insurance through September 5, 2022, and receive compensation for

unused CAR days; or (2) they were permitted to “opt” to extend their unpaid leave status through

September 5, 2022, remain eligible for health insurance, but be prohibited from gainful employment

for nearly an entire year without income from any source. Both options required the “separated”

employee to sign an express waiver of any right to challenge the separation. The DOE’s required

waiver document for election of Option (1) included the following representation: “As it relates to the

DOE, I understand that I lose all entitlements to reversion, retention, and tenure.” If unvaccinated

employees failed to elect option (1) by October 29, 2021 or Option (2) by November 30, 2021, then

the DOE had the power unilaterally to terminate their employment starting on December 1, 2021

according to Section III of the Exemption Standards.




4
  The original date of September 27, 2021 was pushed back to October 4, 2021 because of a temporary restraining order
from the Second Circuit.

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The DOE extended its mandate to private employers under City contract

92.    The DOE’s original August 24th mandate required employees of private schools that were

under contract with DOE to provide certain services to be vaccinated. These schools were under threat

of losing their contracts with DOE, and funding, if they did not comply with DOE’s instructions.

93.    Private contractors of this type informed their employees of the need to become vaccinated.

Some such schools also made their employees aware that the law requires that accommodations be

provided to workers who have religious objections to workplace rules, and they accepted religious

accommodation requests even before the amendment to the DOE Mandate clarified that the DOE,

also, had to accept such requests.

94.    However, on information and belief, the DOE responded to religious accommodation requests

from private employers that no accommodations could be made for religious objectors, even after

Commissioner Chokshi’s September 15, 2021 amendment to the DOE Mandate affirming that it was

subject to law requiring consideration of reasonable accommodation requests.

95.    As a result, private employers under contract with DOE terminated persons who submitted

valid religious accommodation requests.



The City Adopted Additional Mandates Applicable to Separate Groups

96.    The City began issuing a flurry of additional vaccine mandates. Every time a new study came

out showing that vaccines cannot stop the spread of the virus, and are for personal protection, not

community protection, a new mandate (or several) appeared.

97.    The goal was clearly to eventually mandate COVID-19 vaccines for everyone, or make it

impossible to live without having one, but instead of doing it all at once and risking widespread

organized resistance, the City picked people off, group by group, each group hoping that perhaps in


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their agency, reasonable religious accommodations would be granted.

98.      Each such mandate incorporated the discriminatory arbitration policy the City had established

through the DOE as an element of its procedures for determining religious exemptions. However,

aside from the common discriminatory policy, the procedures through which the vaccine mandates

have been implemented have varied from mandate to mandate and, with respect to some mandates,

from agency to agency.

      The City Employee Mandate

99.      On October 20, 2021, Commissioner Chokshi issued a mandate (the “City Employee

Mandate”) rescinding the August 10, 2021 Vax-or-Test Mandate and requiring “all City employees,

except those employees described in Paragraph 5” thereof, to submit proof of vaccination no later than

October 29, 2021, but delaying the deadline to submit proof of vaccination until November 30, 2021

for certain employees of the Department of Corrections not directly involved in healthcare related

duties (pursuant to Paragraph 5 of the mandate). Inter alia, the City Employee Mandate applied (and

still applies) to employees of the DOB, DOC, DOI, DOPR, FDNY, DOB, DSNY and NYPD, among

others. It does not apply, however, to DOE employees.

100.     According to guidelines issued by City, and revised on October 28, 2021, “A sincerely held

religious, moral or ethical belief may be a basis for a religious accommodation. A request based solely

on a personal, political, or philosophical preference does not qualify for a religious accommodation.”

101.     The guidelines also stated that “For reasonable accommodation requests filed on or before

October 27, 2021, employees will be permitted to continue to submit weekly negative PCR test results

while their accommodation request is under consideration or on appeal”, and “Any employee who

requests a reasonable accommodation from their agency on or before October 27, 2021 and is

awaiting a reasonable accommodation determination from their agency or on any appeal must continue


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to submit a negative PCR test result within every seven-day period, as previously required.”

102.    Pursuant to the City Employee Mandate, each agency of the City informed its employees that

they could request religious exemptions from the vaccine mandate by submitting accommodation

requests within a very short time frame to committees controlled by the agencies. On information and

belief, initial agency determinations of religious exemption requests were either adjudicated under the

Exemption Standards or under no standards at all.

        Implementation of the City Employee Mandate by the Department of Buildings

103.        On or shortly after October 20, 2021, the DOB created a form for submission of

administrative requests for religious exemption from COVID-19 immunization. The form instructed

DOB exemption applicants to submit their applications and supporting documentation by email no

later than October 27, 2021 “to avoid being placed on Leave Without Pay (LWOP) on November 1,

2021.” Timely unvaccinated applicants were permitted to continue to work, but while their

determination was pending “must continue to submit a negative test result within every seven-day

period, as previously required.” Employees who submitted exemption applications after that date “will

be placed on LWOP until the reasonable accommodation is decided, including any appeals.”

104.    DOB exemption applicants were instructed to comply with the following instructions:

        •         Provide a personal written and signed statement detailing the religious basis of your
              objection, explaining why you are requesting this religious exemption, the religious
              principle(s) that guide your objections to immunization, and the religious basis that
              prohibits COVID-19 vaccination.

        •         Attach any relevant supplemental materials, such as a detailed explanation from your
              religious organization supporting the basis of your faith/beliefs which are contrary to the
              practice of immunization or use of COVID-19 vaccines.

105.    On information and belief, DOB employees whose exemption applications mentioned the use

of stem cell lines in the manufacture or testing of vaccines received a request from the DOP’s EEO

Office for further information informing them that the Pfizer vaccine had received FDA approval on
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August 23, 2021 for adult use and that “[i]t does not appear that the mRNA COVID-19 vaccines

produced by Pfizer and Moderna require the use of any fetal cell cultures in order to manufacture

(produce) the vaccine,” asking them to “provide any additional context regarding your religious

exemption request,” and asking whether they had ever taken or used any over-the counter or

prescription medications listed on the request, or been vaccinated against a list of diseases that

included the standard measles vaccination that is routinely administered to children.

106.   Religious beliefs need not appear true to be granted, and employers (particularly government

employers) violate the law by rejecting beliefs on the grounds they are wrong. However, as a factual

matter, all three vaccines currently available implicate abortion in some manner during the

development or production of the vaccine.

107.   Employees whose initial administrative requests were denied, and who wished to appeal, were

required    to    submit    their    appeals    “to        the   City’s   online   request    portal”    at

https://www.nyc.gov/vaxappeal within 3 business days, with review of all appeals to be decided by

November 25, 2021 in a written determination to be provided to the employee and the Agency EEO

Officer. Initially, employees were informed that “[t]here is no other appeals process” and “[t]here is

no further appeals process.”

108.   Initial denial determinations sometimes included individual evaluations of employees’

religious beliefs, e.g., “the sincerely held religious beliefs that you identified do not prohibit you from

taking the COVID vaccine.” They also included the following instructions concerning appeal: “The

request for review must include a reason for the appeal. Upon notification of the appeal, the agency

EEO Officer will upload all records concerning the agency determination of the reasonable

accommodation request within one business day. Additional supplemental materials to make a

determination may be requested from the employee, including a release to permit contact with the


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employee’s medical provider is such release was not obtained in connecting [sic] with the original

request.”

109.   Once an application for exemption was finally denied, DOB employees were required to

submit proof of a first vaccination within 3 business days, and of full vaccination within 45 days

thereafter. If they still refused to do so, “they will be placed on Leave Without Pay immediately and

may be subject to termination.”



       Implementation of the City Employee Mandate by the Department of Corrections

110.   On October 27, 2021, the DOC sent an email to its staff requiring most, but not all, of its all

staff to submit proof of receiving at least one shot of COVID-19 vaccine by the close of business on

October 29. The requirements and procedures to be followed varied between uniformed and non-

uniformed staff of the DOC, however.

111.   The DOC’s October 29 vaccination deadline applied to nonuniformed staff and to uniformed

staff assigned to CHS clinics, west facility, NIC infirmarv, Elmhurst and Bellevue hospital wards.

Nonuniformed staff who failed to comply were put on LWOP as of 5 p.m., October 29, 2021.

Uniformed staff assigned to the listed medical posts who failed to comply were not put on LWOP;

they were reassigned to non-medical posts.

112.   Other uniformed staff of DOC were given until November 30, 2021 to submit proof of

vaccination.

113.   DOC employees who were subject to the October 29 vaccination deadline who wished to

submit requests for reasonable accommodation were required to submit their requests by email by 5

p.m. on October 27, 2021 – giving at least some DOC employees less than five hours’ notice of their

need to do so. The notice stated that “Employees who file reasonable accommodations requests on or


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before October 27, 2021, must continue to submit weekly negative PCR test results while their

accommodation request is under consideration or on appeal.”

114.   DOC employees who were subject to the November 30 deadline were told that they would be

informed about procedures for requesting reasonable accommodation at a later date.

115.   Initially, the City’s procedures provided that appeals from administrative exemption denials

were to be made to a city-wide appeals panel comprised of employees from several City agencies,

including the Law Department, that was separate from each of the agencies involved, but controlled

by the City.

116.   The City negotiated an agreement with unions for City employees providing employees who

belonged to those unions could use either of two procedures to appeal initial denials of their religious

accommodation applications: either referral to the Citywide Appeals Panel, or an “expedited” appeal

to an arbitrator employed by Scheinman Arbitration & Mediation Services (“SAMS”) applying the

Exemption Standards established under the Arbitration Award (the “SAMS Option”). The Exemption

Standards were blatantly unconstitutional, but the SAMS option included a waiver of all rights to

contest the result of arbitral appeal except through a proceeding under Article 75 of New York’s Civil

Procedure Law and Rules. On information and belief, representatives of the union and the City

routinely encouraged applicants to choose the SAMS Option, without mentioning the constitutional

violations set forth in the Exemption Standards, and many City employees, including DOC

employees, chose the SAMS appeal option as a result.

117.   For example, the SAMS option set forth in the City’s agreement with Local 300, Service

Employees International Union (/SEIU) (“Local 300 Agreement”) included the following provision:

        SAMS will only grant appeals based on religious exemptions if it is in writing by a
       religious official (e.g., clergy). Requests shall be denied where the leader of the
       religious organization has spoken publicly in favor of the vaccine, where the
       documentation is readily available (e.g., from an online source), or where the objection
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         is personal, political, or philosophical in nature. Exemption requests shall be
         considered for recognized and established religious organizations ( e.g., Christian
         Scientists).

118.     The standards set forth in the Local 300 Agreement are unconstitutional for reasons discussed

above.

         Implementation of the City Employee Mandate by the Department of Investigations

119.     DOI employees were informed in late October, 2021 that they had only a few days to apply for

religious accommodation to the City Employee Mandate. The DOI supplied an application form for its

employees to submit. The form provided two lines for applicants to respond to the instruction to

“[d]escribe your religious belief/practice/observances and identify the accommodations that you

request.” The form also contained a section with the following instruction:“To be completed by

agency staff supervising the employment application process or supervising an employee requesting a

reasonable accommodation. After completing, supervisors must provide a copy of the entire form to

the employee or applicant, and immediately send a copy to the EEO Officer or DRC.” On information

and belief, the requirement to provide a copy to the applicant was routinely disobeyed by DOI staff.

120.     Upon receipt of timely-filed exemption application forms, DOI staff sent emails to religious

exemption applicants containing the following statement: “ Your request has been received. Please

continue to submit a negative test result within every seven day period while you await the reasonable

accommodation determination.”

121.     Some of the DOI religious exemption applicants were contacted by the DOI’s EEO unit and

conversed with DOE staff about their requests.

122.     DOI exemption applicants whose requests for exemption were denied received emails that

provided very little information about the reason for the denials. Such emails included the following

statements:


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   You may appeal this decision within 3 business days. Your appeal deadline is close of
   business on [ ]. Please click on the link below and follow all instructions in order to
   proceed with your appeal. Appeals are handled and reviewed independently of DOI’s
   EEO Office.

   If you do not appeal, you must submit proof of the first dose of vaccination within 3
   business days of this letter (November 24, 2021) to OICOVIDINFO@doi.nyc.gov
   or you will be placed on Leave Without Pay (LWOP) status. If you receive a two-
   dose vaccine, you must provide documentation that that you have received the second
   dose of that vaccine within 45 days after receipt of the first dose.

   []

   The request for appeal must include a reason for the appeal. Upon notification of the
   appeal, the agency will upload all records concerning the agency determination of the
   reasonable accommodation request within one business day. Additional supplemental
   material may be requested from the employee. The employee can submit supplemental
   material directly through the appeals portal. For those who do not have an email
   address or computer access, they should provide the documentation to their agency
   EEO office to upload to the portal.

   The City appeal panel will provide a written determination to the employee and the
   Agency EEO Officer. There is no further appeals process.

   If an employee’s appeal is denied, they must submit proof of the first dose of the
   vaccination within 3 business days of receipt of the appeal denial, and if part of a
   two-dose regimen, submit proof that you have received second dose within 45 days
   after receipt of the first dose. If an employee refuses to be vaccinated within this
   timeframe after an appeal is denied, they will be placed on LWOP immediately and
   may be subject to termination.

   You must continue to submit a weekly negative test result within every seven-day
   period, as previously required, until either your reasonable accommodation request is
   approved on appeal, you submit proof of vaccination, or you are placed on LWOP
   status.

   Note regarding union employees: As of November 9, 2021, members of certain unions,
   including District Council 37 and CWA 1180, are covered by a new vaccine mandate
   agreement. Upon submission of an appeal, the covered employee then has option of
   appealing to the City panel (as under current procedure) or to Scheinman Mediation
   and Arbitration Services. If going through arbitration, there is a narrowly defined basis
   for exemptions. An employee covered by an agreement that provides for the two
   appeal options should select Option A (City panel) or Option B (arbitration). If an
   employee does not make that selection in their initial appeal submission, the agency
   should contact the employee to request they make a selection. Any employee selecting
   arbitration must be sent a waiver form.

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123.   On information and belief, some DOI appellants whose appeals were denied by the Citywide

Panel received no notices directly from the panel, and those who received direct denials from the

Panel were not informed of any reasons for their denials. Other applicants were informed by the DOI

of the denials, again, with no explanation for the denials.

124.   The Citywide Panel’s emails to the DOI included the following statement:

       Employees who were able to submit their appeals directly through the
       portal will be notified by e-mail. If you submitted [employee]’s appeal on
       their behalf, we ask that you notify them promptly of this determination.
       If the appeal was denied, [employee] will have three business days from
       the date you inform the employee to submit proof of vaccination. If the
       employee does not, they will be put on LWOP. If the appeal was granted,
       the employee will be permitted to continue coming to work unvaccinated
       on the condition they continue weekly testing.

       Implementation of the City Employee Mandate by the Department of Parks and Recreation

125.     On or about October 26, 2021, DOP notified its personnel by email that the deadline to

submit applications for reasonable accommodation from the City Mandate’s vaccination requirement

was 5 p.m. on October 27. The DOP notices attached application forms, which stated the following:

“[r]eligious accommodation requests should be submitted with documentation from clergy,

identifying religion or describing the religious belief\practice\observances and identify the

accommodation required.”

126.   After receiving individual accommodation applications, employees of DOP contacted

applicants informing them that as part of the review process, the DOP’s Equal Employment

Opportunity (EEO) office typically enters into “a cooperative dialogue/interactive process” in which

they “ask follow-up questions . . . in order to make a final determination.” Such questions included,

inter alia, the following: “How long have you had this belief? When did your belief develop and how

do you adhere to it? Have you been vaccinated before? Flu? What about the vaccination is


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inconsistent with your faith?”

127.   Upon denying an application, the DOP emailed outlines to applicants with information about

their options to appeal their denials. The outlines informed DOP employees who were union members

that they had two such options.

128.   The first option was to appeal through the City panel made up of representatives from the

Department of Citywide Administrative Services, the Law Department, and the Department of Health

and Mental Hygiene (for medical) or the City Commission on Human Rights (for religious). The

outline stated that the City panel “will make decisions as required by law, based on the documents you

submitted to your agency to request your accommodation.” The outlines informed applicants that if

the panel granted an appeal, “the Panel will provide you with a reasonable accommodation of their

choosing; and if were on unpaid leave, you will retroactively be granted paid leave.” On information

and belief, this was the only appeal option that was available to DOP employees who were not

represented by a labor union.

129.   The second option, available only to union members, was to appeal to Scheinman Arbitration

and Mediation Services (“SAMS”), in which an arbitrator would decide an employee’s appeal based

on documents submitted by the employee and the DOP.

130.   The notice of appeal options stated that under the second option,

               - SAMS will only grant your Religious Exemption if: 1) your
               exemption is in writing by a religious official (e.g., clergy); and 2) your
               religious organization is recognized and established.

               - SAMS will deny your religious exemption if: 1) the leader of your
               religious organization has spoken publicly in favor of vaccines; 2) the
               documentation you provide appears to be copy-pasted from a readily
               available source (e.g., from the internet); or 3) your objection to
               vaccination is personal, political, or philosophical in nature.

131.   The outline also informed appellants that if the SAMS arbitrator granted the appeal, “you shall


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be allowed to continue working and remain on payroll; you must submit to weekly COVID-19 testing;

and if you have been placed on unpaid leave, you will retroactively be granted paid leave.”

132.   DOP employees also received the following information about employment pending

determination of their reasonable accommodation requests:


                II. EMPLOYMENT STATUS PENDING REVIEW OF YOUR
               REQUEST

               If you requested a reasonable accommodation, by the end of the day on
               11/02/2021 - You will remain working and on payroll, subject to
               weekly COVID-19 testing, pending your agency’s
               determination and your appeal.

               If your request was made after 11/02/2021 but by the end of the day
               on 11/05/2021- You will remain working and on payroll, subject to
               weekly COVID-19 testing, pending your agency’s determination.
               While your appeal is pending, you may be placed on unpaid leave.

               If your request was made after 11/05/2021 - You will be placed on
               unpaid leave starting on 11/01/2021, and will remain on unpaid leave
               until the final determination of your request.

               If your request for reasonable accommodation is denied, you will
               be placed on unpaid leave from 11/01/2021 to 11/30/2021 (unless
               you can temporarily remain working based on the criteria above). If
               you choose to become vaccinated prior to 11/30/2021, you can
               return to work at the same work location within one (1) week of
               your notice and submission of proof of
               vaccination.

133.   On information and belief, the Citywide Panel denied many accommodation applications

submitted by DOP employees, typically informing denied applicants by emails stating that “[t]he

decision classification for your appeal is as follows: Does Not Meet Criteria.” However, some DOP

employees who did not submit letters from their pastors received exemption grants.

134.   Denied DOP applicants were informed that pursuant to the City’s policy concerning the

mandate, they had three business days to submit proof of vaccination, or be placed on leave without

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pay (“LWOP”).

135.   Applicants who replied to Citywide Panel denials asking which criteria they had failed to meet

received no response.

136.   DOP employees who failed to submit proof of vaccination after denial of their appeals by the

Citywide Panel received an email giving them a short deadline to choose either to separate voluntarily

from DOP and maintain health insurance through June 30, 2022 (while waiving any right to challenge

this separation), remain on LWOP through June 30 and maintain health insurance until that time

(while waiving any right to challenge separation after June 30), or be terminated on the deadline.

137.   DOP employees who agreed to accept either of the LWOP or voluntary separation options

were required to return a signed waiver to DOP within ten days, in violation of federal and state

employee protection laws.


       Implementation of the City Employee Mandate by the Department of Sanitation

138.    DSNY employees were required to submit accommodation applications soon after the City

Mandate was issued.

139.   DSNY officials sent emails to applicants asking for details concerning the applicants’ length of

religious beliefs concerning COVID-19 vaccines and how the applicants’ religious beliefs have

affected their use of other medications, among other questions.

140.   When the DSNY denied accommodation requests, an DSNY employee sent out an email with

a short statement of the reason for denial, for example: “Because the information you provided in

support of your request has not sufficiently demonstrated to DSNY that there is a basis for granting

you an exemption to the above Order, DSNY is denying your request for an accommodation.”

141.   DSNY supplied its denied employee applicants with information about a two-option appeal

process that was similar to the outline that the DOP sent to its employees. It differed, however, in it
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statement of the accommodation results of approval under the two options.

142.   DSNY employees were told:


               If your appeal is granted by the City panel, you will be permitted to report
              to work so long as you continue to submit a weekly negative COVID test.

              And:

              If your appeal is granted by the arbitrators, you will be permitted to report
              to work so long as you continue to submit a weekly negative COVID test.


143.   On information and belief, when Citywide Appeals Panel panels denied religious exemption

appeals, typically the only information they provided to DSNY applicants was “Does Not Meet

Criteria.”

144.   While DSNY claims to have the power to terminate the employment of unvaccinated

employees, as a practical matter, many unvaccinated employees remain in its workforce. They have

not yet been terminated by DSNY.

       Implementation of the City Employee Mandate by the Fire Department

145.    The FDNY sent out forms for its employees to submit religious exemption applications.

146.   FDNY adjudicators did not, for the most part, contact applicants to conduct individual

conversations with them.

147.   Most exemption applications were denied at the administrative level. Typically, denial notices

stated the following: “The asserted basis for the accommodation is insufficient to grant the requested

accommodation, particularly in light of the potential undue hardship to the Department.”

148.   Some FDNY employees who received initial administrative denials of exemption requests

were given the options to appeal either to the Citywide Panel or to a SAMS arbitrator. Those who

opted for a SAMS appeal were required to sign a waiver of rights. The union that negotiated a SAMS


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option also negotiated that union members who submitted their initial accommodation requests on or

after November 3, 2021 would go on LWOP status pending appeal.

149.      Some FDNY employees were not offered a SAMS Appeal option, but were permitted to

submit appeals only to the Citywide Panel.

150.      Following denial of appeals by the Citywide Panel, the FDNY sent out explanations to its

employees purporting to elaborate on the reasons why they were denied reasonable accommodations,

saying:

                 In response to requests for further information concerning the reasons for
                 the denial, the Department is providing this supplemental letter. Your
                 request for a religious exemption from the vaccine mandate was denied
                 because the asserted religious basis seeking the exemption was insufficient in
                 light of the potential undue hardship to the Department. Given the state of the
                 public health emergency, the nature of the Department’s life-saving mission,
                 and the impact to the safety and health of Department members and the public
                 that Department members regularly interact with, the requested
                 accommodation could not be granted.

151.      Although the FDNY claims to have the power to terminate its unvaccinated employees, as a

practical matter many of its unvaccinated employees have continued to work and be paid for their

services, despite having failed to submit any proof of vaccination.

          Implementation of the City Employee Mandate by the Police Department

152.       The NYPD supplied accommodation request forms to its employees along with notices that

informed them of the City Employee Mandate and procedures to apply for religious exemption. The

form informed applicants that “Supporting documentation from you and/or your religious official

explaining your religious exemption from the COVID-19 vaccine is strongly suggested.”

153.      The NYPD forms also contained the following advice to applicants: “Please be advised that

this Reasonable Accommodation, if granted, does not preclude you from adhering to the mandates

established in New York City Mayoral Vaccination Mandate for New York City Workforce, which

requires the wearing of a facial covering AND mandatory testing in lieu of vaccination.”
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154.   On information and belief, administrative denial notifications from NYPD did not state

reasons for the denial.

155.   Uniformed members of NYPD were informed that they could appeal to the Citywide Appeals

Panel. Civilian NYPD employees who belonged to certain unions were also given an option to file a

SAMS arbitral appeal, with waivers of rights.

156.   Despite the threat of termination, many unvaccinated NYPD employees have remained on the

payroll, in their normal positions, performing their normal duties, after receiving notices denying their

religious accommodation requests.

157.   On or about February 8, 2022, NYPD employees who had received cursory denial letters

received a second, amended denial letter that contained a checklist of reasons for the denial, and were

given a second opportunity to make an appeal to the Citywide Appeals Panel. Those persons who had

already submitted an appeal were given an opportunity to supplement their appeals with additional

information.

158.   NYPD employees were also informed as follows: “Employees with pending appeals will

remain on active duty status and continue to work while providing proof of negative COVID-19

testing through CPRS while awaiting final decision of their appeal based upon the applicable

agreement with their collective bargaining unit (CBU).”

   The Nonpublic Schools Mandate

159.    On December 2, 2021, Commissioner Chokshi issued an order (the “Nonpublic Schools

Mandate”) requiring all nonpublic schools operating within the City to “exclude any staff member”

who was not vaccinated against COVID-19, and prohibited them from hiring any staff member who

was not so vaccinated. This requirement became effective on December 20, 2021. It applied also to

religious schools including schools in the Roman Catholic school system and yeshivas.


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160.   On information and belief, private schools have responded in a variety of ways to the

Nonpublic Schools Mandate. On information and belief, some religious schools solicited religious

exemption applications from their employees and were liberal in granting them, in stark contrast to the

attitudes of city agencies.

161.   Other private schools, in contrast, have interpreted the Nonpublic Schools Mandate as

requiring them to follow DOE policy and absolutely to exclude from their school buildings all

unvaccinated personnel, no matter the strength of a person’s objection or the reasonableness of

proposed accommodations.

   The Private Sector Mandate

162.    On December 13, 2021, after a federal court stayed Osha’s private sector employee mandate,

Commissioner Chokshi issued an order (the “Private Sector Mandate”) requiring that all participants

in the private sector of the City’s economy demonstrate vaccination of all their personnel no later than

December 27, 2021. The Private Sector Mandate extended to all “covered entities,” which it defined

as follows:


               “Covered entity” means: i. a non-governmental entity that employs
               more than one worker in New York City or maintains a workplace in
               New York City; or

               ii. a self-employed individual or a sole practitioner who works at a
               workplace or interacts with workers or the public in the course of their
               business.

163.   On information and belief, private employers are responding in a myriad of different ways to

the Private Sector Mandate. Some are accepting religious accommodation requests from employees

and giving them fair consideration. Others, on information and belief, are following government

practices and denying most, if not all, religious accommodation requests.

The Religious Exemption Policy is Unconstitutional
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164.   The Defendants established their overall policy toward religious vaccine exemptions and

accommodations in the context of the DOE Mandate, because it was the earliest vaccine mandate they

issued or applied.

165.   The DOE adopted the discriminatory arbitration policy, including the Exemption Standards, as

its sole official policy for determining religious exemptions.

166.   The DOE and other agencies who later adopted the Religious Exemption Policy knew or

should have known that these standards are blatantly unconstitutional and thus impermissible for

adoption by a government employer.

167.   The Exemption Standards require the state to impermissibly pass judgment on which religions

are “valid” and which it will decline to acknowledge or give its blessing.

168.   Specifically, people who follow personal religious paths, or who belong to religions that are

not “established” and “recognized” by the random reviewing administrator will not be considered.

169.   The Religious Exemption Policy further provides that religious objections based on personally

held religious beliefs, and not necessarily echoed by the official doctrine of a church as relayed by

“clergy”, will be denied.

170.   Moreover, to be considered, the exemption “must be documented in writing by a religious

official (e.g. clergy).” The certification requirement discriminates against those who practice religions

that do not belong to a hierarchical organization or who have personal religious beliefs.

171.    To the extent that people have “recognized” church leaders that write letters attesting that a

person has religious beliefs against vaccination and these beliefs are the beliefs of the church, this

documentation cannot be available online. If the church has placed a description of their ministry

online, the person will be denied an exemption.

172.   Additionally, if a person does happen to belong to an “established” and “recognized” religious


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organization that is hierarchical and provides letters from clergy (that are not available online), that

person will still be denied if any “leader” of that person’s “religious organization” has ever spoken

publicly in favor of vaccination.

173.   “Leader” is not defined and in practice, the Defendants have interpreted this very broadly (i.e.,

if one is Jewish, and any Jewish faith leader has ever made a statement in favor of vaccines, the City’s

attorneys have zealously argued that the employee's religious exemption should be denied even if the

employee’s particular faith did not include following that particular “religious leader”).

174.   The language of the policy shows that its intention is to deny a religious exemption or

accommodation to everyone or virtually everyone. In fact, the policy gives only one example of a

religion that will be accepted for exemption: Christian Science.

175.   This intention was made plain to the employees. Multiple supervisors and agents of the

Defendants advised employees that the Defendants intended to deny all religious exemptions other

than Christian Science-based objections. They asserted that City officials have instructed, without

authority, that “all other religions have publicly made statements in support of vaccination” and thus

that anyone belonging to any other religion than Christian Science must be denied.

176.   The Defendants were represented by Corporation Counsel in all of the Zoom hearings that

were conducted in SAMS Appeals under the Exemption Standards procedures. In each appeal,

Government representatives repeatedly and zealously presented unconstitutional reasons for denial,

repeatedly arguing that employees’ applications should be rejected because they conflict with the

Pope’s decision to get vaccinated, or sometimes the opinions of another popular faith leader (often

one that had little or nothing to do with the religious beliefs of the applicant being assessed).

Corporation Counsel also frequently cited a letter from Defendant Commissioner Chokshi, which

questioned the validity of religious objections to the use of fetal cells in the development of COVID-


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19 vaccines.

177.   In no uncertain terms, the Defendants turned the Zoom appeals of DOE employees into heresy

inquisitions, and openly advocated for discrimination against its employees because they held

minority religious views or religious views which Defendants believe are “wrong”.

178.   This widespread, acknowledged policy reflected ex-Mayor de Blasio’s guidance and

admission of how the City would handle the applications for religious accommodation. In a press

briefing held on September 23, 2021, ex-Mayor de Blasio was asked how the City intended to

implement the religious exemption policies and what criteria would be used. He responded:

       Mayor: Yeah, it's a great question. Thank you. Yes. And very powerfully Pope Francis has
       been abundantly clear that there's nothing in scripture that suggests people shouldn't get
       vaccinated. Obviously, so many people of all faiths have been getting vaccinated for years
       and decades. There are, I believe it's two well-established religions, Christian Science and
       Jehovah's Witnesses that have a history on this, of a religious opposition. But
       overwhelmingly the faiths all around the world have been supportive of vaccination. So,
       we are saying very clearly, it's not something someone can make up individually. It has
       to be, you're a standing member of a faith that has a very, very specific long-standing
       objection.

179.   It is long-settled that discrimination against personally held religious beliefs is unconstitutional

and the Defendants were on notice that such criteria violates their employees’ rights.

180.   In the 1980s, the New York State Legislature similarly limited religious exemptions, only

allowing exemption from vaccination to families who were “bona fide members of a recognized

religious organization” with teachings that were contrary to immunization.

181.   After parents with personally-held religious beliefs challenged the language codified into the

Public Health Law, a federal court determined that the statute violated the Establishment Clause of the

United States Constitution in a number of ways, one of which was to exclude those with personally

held religious beliefs from protection.

182.   As a result of that holding, New York State had to change its statutory language to provide


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religious exemptions to anyone who holds a religious objection, whether personally held or echoed by

an established religious organization. In accordance with the court’s clear instruction, the statute

stated that no certification from clergy or attestation of membership could be required.

183.   To this day, the amended Section 2165 of the New York State Public Health Law, which

governs immunization requirements for adults, states: “this section shall not apply to a person who

holds genuine and sincere religious beliefs which are contrary to the practices herein required, and no

certificate shall be required as a prerequisite to such person being admitted or received into or

attending an institution.”

184.   Such broad and equal protection is the Constitutional floor. The City violated the rights of

thousands of employees by adopting a facially unconstitutional policy to administer accommodations

required by the First Amendment and Title VII.

Defendants Implemented the Exemption Standards to Discriminate Against Plaintiffs

185.   The religious exemption policy was intentionally set up to make it impossible to receive a

meaningful chance at a religious exemption, while attempting to sidestep the expected lawsuits about

the unconstitutionality of withholding such exemptions.

186.   Indeed, upon the proclamation that the City now had a mechanism for religious and medical

exemption, the temporary restraining order in the Municipal Labor Committee Litigation was

dissolved.

187.   However, what was not before the state court was the details of the City’s religious exemption

policy, which if examined, would have been readily revealed as facially unconstitutional.

188.   In addition to discrimination claims, Plaintiffs, many of whom are tenured teachers and staff,

have procedural due process rights that were grossly violated by the City’s policy.

189.   The Exemption Standards procedures deviated widely from the City’s previously established


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EEO policies that were still officially in place when the Mandates were promulgated (and they still

are).

Kane and Keil Lawsuits and Early Proceedings

190.    While all of this was happening, the teachers and educators impacted by the mandates were in

a state of crisis. The labor disputes and pending lawsuits meant that the landscape was changing every

day. The DOE Mandate itself was amended three or four times in the month between its

announcement and original effective date. The DOE Mandate was also stayed more than once in

various courts.

191.    As it became apparent that help was not coming from many of the broader suits, those with

religious objections to the Mandate and the discriminatory standards began organizing to try to bring

the issues with the religious exemption process before the Court.

192.    The Kane Plaintiffs filed for emergency relief from federal court just before the DOE

Mandate’s effective date of October 4, 2021. They filed seeking relief for themselves and all others

similarly situated.

193.    At that time, many of the Kane Plaintiffs still did not know whether their applications were

accepted or denied yet. They did know, however, that whatever the outcome, the process itself was

boldly discriminatory and harmful.

194.    The federal court denied injunctive relief.

195.    A separate set of educators filed suit in the Keil matter on October 27, 2021.

196.    The Keil Plaintiffs were denied relief with no opportunity for a hearing.

197.    Both sets of Plaintiffs sought emergency relief through appeal.

198.    The November 28, 2021 merits panel decision of the Second Circuit Court of Appeals found

that the DOE Mandate, as applied through the Exemption Standards, was likely to be unconstitutional.


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Corporation Counsel admitted in open court that the policies they had adopted and used to determine

religious accommodations were “constitutionally suspect.”

199.      The Second Circuit held that Plaintiffs are likely to succeed, vacated and remanded the denial

of injunctive relief and ordered that each of the Named Plaintiffs receive “fresh consideration of their

requests for a religious accommodation by a central citywide panel consisting of representatives of the

Department of Citywide Administrative Services, the City Commission on Human Rights, and the

Office of the Corporation Counsel” (the “Citywide Panel”) adhering to “standards established by Title

VII of the Civil Rights Act of 1964, the New York State Human Rights Law, and the New York City

Human Rights Law.”

200.      The Citywide Panel was created by the Defendants and is entirely controlled by them, and the

provision for referral of such panel set forth in the Second Circuit’s order was adopted verbatim by the

court from a proposal drafted by Defendants.

201.      The DOE promised to extend the same “fresh look” by the Citywide Panel to many of the

thousands of others who were suspended under the admittedly unconstitutional Exemption Standards

policy.

202.      However, because the Plaintiffs had not pled their case as a class action complaint, relief is not

guaranteed to any others but the fifteen named Plaintiffs.

203.      The district court has continuously stayed the case and declined motions to lift the stay so that

class action relief can be formally sought.

204.      Upon information and belief, some of the proposed Class have been given the opportunity to

ask for a “fresh look” by the Citywide Panel. Others, who are no covered by the lawsuit at this stage,

have not been allowed to participate, even though they were suspended and are now being terminated

under an admittedly unconstitutional policy.


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The Citywide Panel

205.   But the Citywide Panel process is just another veiled attempt to continue to discriminate

against employees with sincerely held religious beliefs against COVID-19 vaccination. It does not

provide adequate safeguards to meet the basic constitutional or statutory standards.

206.   First, it has not been extended to everyone. The Citywide Appeals Panel option has not been

extended to DOE workers who either declined to file an administrative application pursuant to the

discriminatory Exemption Standards or who declined (or were unable) to file an appeal pursuant to the

discriminatory Exemption Standards.

207.   Second, the Citywide Appeals Panel is supposed to apply standards for the evaluation of

religious exemptions that comply with the law, including inter alia the standards established by Title

VII of the Civil Rights Act of 1964, the New York State Human Rights Law, the New York City

Human Rights Law, and the New York State and United States Constitutions.

208.   Third, even though Defendants essentially admitted that they had openly discriminated against

thousands of employees on the basis of religion, their review of these determinations was not

undertaken by a neutral decision-maker.

209.   Instead, Defendants employed their own staff, and worse, the attorneys who represent them

defending against Vaccine Mandate lawsuits and who had initially overseen the denials under the

unconstitutional policy.

210.   Fourth, no Plaintiff was given any meaningful opportunity to be heard, or adequate notice of

the reasons for their denial.

211.   Fifth, the issuance of more autogenerated denials reveals once more that individualized

determinations required by law are not taking place in good faith.

212.   Accommodation applicants are routinely and summarily rejected with an autogenerated


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explanation “does not meet criteria” email.

213.   On information and belief, the Citywide Appeals Panel has no published rules or regulations to

govern its actions, keeps no records of its decision-making process, and is not required to give any

reasoned explanation of its decisions.

214.   Sixth, the First Amendment’s religion clauses require the Defendants to provide an

accommodation to Plaintiffs that is the least restrictive alternative available to the Defendants. It is not

constitutional for the Defendants, as governmental actors, to deny Plaintiffs – and thousands of other

religiously motivated employees – their constitutional rights simply because the City finds it to be

inconvenient to accommodate those rights.

215.   Effective February 11, 2022, the City will begin termination proceedings against applicants

denied the right to have a “fresh consideration” by the Citywide Panel at all, and any that have been

rejected through the new process.

216.   This threat puts Plaintiffs – and everyone who is similarly situated – under tremendous

pressure to betray their religious beliefs in order to protect the livelihoods, income and insurance

protections for themselves and their families during a winter where COVID-19 and its Delta and

Omicron variants are once again predicted to wreak havoc upon the health of the general population

(without any apparent regard to vaccination status as Omicron easily infects the vaccinated and

unvaccinated alike).

None of the COVID-19 Mandates Are Generally Applicable

217.   The City has issued multiple mandates. Some apply to operators and patrons of public

accommodations. Several have applied to employees of the DOE. Several have applied to staff of

nonpublic schools. Several have covered non-DOE employees of the City and is contractors. Some

purport to cover every type of nonpublic employment. Not one of the City’s specific COVID-19


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mandates has ever purported to cover every person whose conduct might affect the course of COVID-

19 infection and transmission in New York City.

218.   Nor do all of the City’s COVID-19 mandates show that they are part of a single, uniform

policy that the City has adopted to prevent COVID-19 transmission and infection. To the contrary,

each of the mandates is unique and incompatible with the others. Some contain exceptions that are not

available in others. Some forbid employment of all unvaccinated personnel, even those who work

remotely. Some only required “exclusion” of unvaccinated personnel.

219.   Nor are the City’s many COVID-19 mandates enforced and applied in a uniform manner, so

that everyone is treated alike. For example, in some instances, unvaccinated staff continue to be

actively employed by the City, while others have been dismissed or put on leave without pay. In some

instances, staff who received only the first shot of a two-shot vaccine continue in employment, with

no effort to enforce the requirement to get a second shot. A few people have had their religious

exemption applications granted, while people who have presented similar evidence have been denied.

Private employers, acting in complete good faith, are applying widely different set of standards to

religious exemption requests, reflecting in many instances the religious attitudes of the employer as

well as the employee.

The COVID-19 Mandates Are Not Neutral Toward Religion

220.   In addition, the Mandates are tainted by substantial evidence of religious animus, not only

from the City of New York, but by decision makers at the State level as well.

221.   The first Mandate was promulgated on the same day that Governor Kathy Hochul was

appointed interim Governor of the State of New York.

222.   Governor Hochul has strongly held religious beliefs in support of vaccination. In place of a

cross, she wears a golden “Vaxed” necklace, which she describes in religious terms. Before taking


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office, she met with Mayor de Blasio and coordinated a vaccine strategy.

223.    Two days after Mayor de Blasio’s Original DOE Mandate was promulgated without a

religious exemption, Governor Hochul removed the religious exemption from the New York State

Department of Health regulation governing healthcare workers.

224.    Mayor de Blasio’s amended mandates reference the state mandates as a justification to enact

his own.

225.    Both mandates were to take effect on September 27, 2021. The day before the state mandate

was supposed to take effect, Governor Hochul gave a sermon at a Brooklyn church, during which she

said that God made the vaccine and that she was recruiting apostles to coerce those who did not

understand God’s will and what God wants (that we be vaccinated). Governor Hochul then told the

press that the Pope supports vaccination and that no religious objections to vaccination are valid, and

this is why she removed the religious exemption from the state healthcare mandate.

226.    Mayor de Blasio’s statements have frequently echoed this New York government assertion

that people’s religious beliefs against vaccination are “invalid” because they are unorthodox.

Representatives of the City repeatedly argued the same in each SAMS Appeal.

227.    These statements are as ignorant as they are unlawful.

228.    The history of religious opposition to vaccination is well-established and religious objectors

exist in nearly every faith tradition.

229.    Even within the Catholic Church, there is currently a robust debate about the religious

propriety of getting a COVID-19 vaccine.

230.    Similar to abortion, the topic of vaccination is so intertwined with religion that it is itself a

religious issue, and any vaccine mandate is inherently enmeshed with religion.

231.    Refusing to allow for reasonable religious accommodation is itself indicative of a lack of


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neutrality.

232.       The State has now doubled down on its persecution of those with religious objections to

vaccination.

233.       Just before the statewide medical mandate was to take effect, Governor Hochul gleefully

announced that she had instructed the New York State Department of Labor to deny unemployment

compensation to anyone who is unable to work due to a vaccine requirement.

234.       Several terminated City employees have applied and been denied unemployment

compensation even though they are unable to get vaccinated due to their sincerely held religious

beliefs.

The Mandates Are Not Narrowly Tailored

235.       The DOE’s restrictions, prohibitions and “accommodations” on religious exemptions to the

Mandates are not narrowly tailored to promote a compelling interest.

236.       There is no compelling reason to force the five percent of t whhe population who have

religious objections to vaccination to violate their sincerely held religious beliefs.

237.       To date, the peer-reviewed evidence does not support the assumption that the vaccinated are

substantially less infectious than unvaccinated people, particularly against the now dominant strains of

SARS-CoV-2 widely circulating.

238.       On the contrary, transmission was not even studied in clinical trials, and it was expressly

acknowledged from the outset that these vaccines cannot provide sterilizing immunity (meaning

protection against transmission). These vaccines were not designed to stop transmission and the

evidence-based science conclusively shows that they do not stop transmission of SARS-CoV-2

enough to mitigate community spread.

239.       Any initial hopes that the vaccines would somehow turn out to provide sterilizing immunity


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have long-since been dashed, particularly with the dominance of the delta variant and now the

omicron variant, upon which vaccination appears to have little to no impact in stopping infection.

240.      Even before the emergence of Omicron, the science established that vaccines cannot stop

transmission. In July, 2021, the CDC released the findings of a study confirming the vaccinated are as

infectious as the unvaccinated. The study also showed the vaccinated are as likely to contract COVID-

19, and asymptomatic vaccinated people were just as infectious as asymptomatic unvaccinated people.

Multiple other studies emerged at the same time showing the same findings.

241.      It is not surprising, then, that high vaccination rates do not translate into lower community

spread.

242.      For example, a recent Harvard study found that “there appears to be no discernable

relationship between percentage of population fully vaccinated and new COVID-19 cases.”

Subramanian S V and Akhil Kumar. “Increases in COVID-19 are unrelated to levels of vaccination

across 68 countries and 2947 counties in the United States.” European Journal of Epidemiology, 1-4.

30 Sep. 2021, doi: 10.1007/s10654-021-00808-07.

243.      Moreover, at the same time, evidence emerged that the vaccines were even waning in efficacy

for symptom mitigation thus prompting many to start advocating for boosters after a few months.

Studies from Israel and other highly vaccinated countries show efficacy plummeting less than eleven

weeks after vaccination. Israel is already now contemplating a fourth booster, as their third has lost

effectiveness.

244.      Defendants’ own publicly available data support these points. The DOE publishes regular

updates on the number of infected students and in-person staff working in New York City Schools.

That data shows that excluding unvaccinated staff has not decreased the percentage of staff infected

with COVID-19 at all (in fact, over the last month, there are many days when there were thousands of


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actively infected among the fully vaccinated staff, whereas before exclusion of the unvaccinated, there

were typically only a few dozen infected).

245.    Moreover, beyond the termination threat embodied by the Mandates, the City’s pernicious

treatment of employees seeking religious exemptions shows animus: for example, DOE employees are

required to choose between resigning or suffering another long period of continued unpaid “leave”

status, with a prohibition on outside employment. These loyal, longstanding employees are being told

to “quit or starve,” in essence. The policy is designed to be punitive and it is unconscionable, but

consistent with ex-Mayor De Blasio’s intent to impose requirements so burdensome that people would

need to get vaccinated to avoid them.

246.    Many of these employees have children and spouses to feed, elderly parents to support, and

eventually, a retirement to fund. To deny any employee both a salary and any option to earn money

from other sources is not, by any understanding, a narrowly tailored provision. It does not meet even

Title VII standards, much less strict scrutiny.

247.    Essentially, the Mandates are treating unvaccinated employees as if they have COVID-19,

even if they are regularly testing and can establish that they do not have COVID-19. Because they are

being treated as if they have a communicable disease, the appropriate standard is to assess whether

they pose a direct threat to others – that is, a significant risk of substantial harm.

248.    The Defendants cannot meet this burden. Unvaccinated employees who are regularly tested do

not pose a risk to anyone else and certainly not more of a risk than their largely untested vaccinated

co-workers, who clearly can and are catching COVID-19 at staggering rates.

249.    These provisions, along with the skewed application procedures that appear to be engineered

to deny exemptions, accomplish two purposes: to make refusal to vaccinate so onerous that religious

opponents of vaccination will be forced to act against their beliefs or waive their legal rights, and to


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save money through the mass “separation” of religiously motivated employees.

250.   The Mayor of New York City controls the New York City school system and other agencies.

These policies were always ordered from the top down.

251.   As the new Mayor of New York City, Mayor Adams has vowed to continue to require in-

person schooling for DOE schoolchildren and vaccination for all City employees.

The Mandates do not serve the public interest

252.   The Mandates have created a staffing crisis.

253.   The schools and hospitals are in such bad shape, that not only have they opted to send infected

staff back to work while they are still able to infect others, but critical services are being withheld

from vulnerable people.

254.   Special education children are not receiving federally required services, or aid.

255.   The lack of security personnel in schools has caused an increase in school stabbings and other

major safety concerns.

256.   Many of the unvaccinated teachers are seasoned tenured faculty, who have been teaching

children for years.

257.   They are being replaced by substitute teachers who are exempted from the basic qualifications

usually required in an effort to get bodies into classrooms.

258.   The toll on the workforce of operating under such conditions is causing even fully vaccinated

employees to quit or retire early to avoid the nightmare that is currently unfolding in the New York

City public school system.

259.   Other sectors are already critically understaffed. Firing a percentage of the workforce

needlessly will mean that garbage will accumulate, fires will go unattended, vulnerable people will

not be able to receive care or services, and everyone will suffer.


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Plaintiff’s Injuries and Standing to Seek Declaratory and Injunctive Relief

260.    All Plaintiffs have sincere religious objections to vaccination and are entitled to opt out of

these vaccines both because they are experimental medicine and because the vaccines conflict with

their deeply held religious beliefs.

261.    They bring this suit on behalf of themselves and all similarly situated employees in New York

City with sincere religious objections to taking a COVID-19 vaccine.



                          FACTS RELATING TO INDIVIDUAL PLAINTIFFS

262.    Detailed facts concerning the individual Plaintiffs are set forth in declarations, which are filed

herewith and incorporated herein.

Gennaro Agovino

263.    Plaintiff Gennaro Agovino has been employed by the DOC as a civilian employee for the

past 26 years.

264.    Agovino has been a Christian his entire life and has sincerely held religious beliefs that

prevent him from getting any of the Covid-19 vaccinations.

265.    Agovino submitted a religious exemption request on October 27, 2021, which the DOC denied

on November 17, 2021.

266.    On November 22, 2021, Agovino submitted his appeal to the DOC and he is waiting to hear

back.

267.    Each day, Agovino faces tremendous pressure to either abandon his faith or his job.

Brendan Fogarty

268.    Brendan Fogarty has employed by the FDNY for the past 19.5 years, and has been a captain in

for the past two years.


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269.   Fogarty possesses sincerely held religious beliefs that prevent him from receiving any of the

Covid-19 vaccines.

270.   On October 23, 2021, he submitted his request for a religious exemption to the FDNY, and the

FDNY denied it on December 13, 2021.

271.   He appealed the denial on December 19, 2021.

272.   He has not heard back from the FDNY.

273.   Every day he faces immense pressure to choose between his faith and his job.

Curtis Cutler

274.   Plaintiff Cutler has been a Sanitation Worker with the DSNY since 2014.

275.   Cutler objects to the vaccine mandate due to his longstanding sincerely held religious

objections to vaccines.

276.   Cutler submitted an exemption request on August 20, 2021.

277.   On November 19, 2021, DSNY denied Cutler’s request for a religious exemption.

278.   Cutler appealed on November 16, 2021, and the DSNY denied his appeal on January 6, 2022.

He was placed on LWOP three days later.

279.   On January 31, 2022, Mr. Cutler received a notice from the DNSY stating his employment

would be terminated if he does not show proof of vaccination by 5:00 p.m. on February 11, 2022.

280.   Cutler was also told by a union representative that he could extend his LWOP until June 30,

2022 and maintain his health insurance if he resigned from DSNY and waived his right to sue the

DSNY. Cutler has a family to support and felt he had no choice but to resign.

Liz Delgado

281.   Liz Delgado has been an Administrative Assistant for the DOI since 2017. Prior to working at

DOI, Delgado worked with the Department of Corrections, and also worked at the Department for the


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Aging for 12 years. She has been a New York City employee for over 30 years.

282.    Delgado possess sincerely held religious beliefs that prevent her from taking any of the Covid-

19, and has not had a vaccine in over 25 years due to these religious convictions.

283.    Delgado submitted a request for a religious exemption on October 22, 2021, and the DOI

denied it on November 19, 2021 because they “not based on a sincerely held religious, moral, or

ethical belief.”

284.    Delgado appealed to the Citywide Appeals Panel on November 24, 2021.

285.    On December 20, 2021, the DOI denied her appeal.

286.    Delgado is currently on LWOP and she very recently received a termination notice from her

employer. Pursuant to that notice, Delgado must choose by February 22, 2022 whether to extend her

LWOP through June 30, 2022, involuntarily resign, or retire. All options presented to Ms. Delgado

include waiving her right to sue DOI.

Janine DeMartini

287.    DeMartini is employed by The Child Study Center of New York, which is partially funded by

the New York City Department of Education. She holds a strong and sincere religious objection to the

vaccine.

288.    She submitted a request for a religious exemption on September 9, 2021, which was denied.

289.    DeMartini was not given the opportunity to appeal the decision and was terminated from her

job as of September 27, 2021.

Sabina Kolenovic

290.    Kolenovic is employed as a teacher by DOE. She has strong and sincere religious objections to

vaccines.

291.    Kolenovic submitted an administrative request for religious exemption to the DOE, which was


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denied.

292.      Kolenovic participated in a Zoom hearing on her appeal to a SAMS Appeal arbitrator. During

that hearing, the City attorney argued, “If religious leaders are publicly in support of the vaccine, this

must be denied.” The SAMS Appeal was denied without explanation and Kolenovic was put on

LWOP.

293.      In November, Kolenovic was given an opportunity to file a new appeal before the Citywide

Panel, as a result of a decision by the Second Circuit Court of Appeals in the case of Kane v De

Blasio.

294.      In January, 2022, the DOE sent Kolenovic a series of questions concerning her religious

beliefs, which she promptly answered.

295.      She has not heard back from DOE or the Citywide Panel since that time.

296.      Kolenovic feels daily pressure to renounce her religious opposition to COVID-19 vaccines and

accept vaccination, in order to save her career and stop going without any income.

Krista O’Dea

297.      O’Dea is employed by FDNY. She holds a strong and sincere religious objection to the

COVID-19 vaccine.

298.      She made an administrative request for a religious accommodation which was refused.

299.      She submitted an appeal to the Citywide Appeals Panel. While she has not received an official

denial letter, she did receive an email that contained reasons for her denial.

300.      Since she submitted her initial request, O’Dea has continued to go to work and get paid.

301.      O’Dea is under great pressure to end the uncertainty of her position, get vaccinated, and forget

about her religious beliefs.

Dean Paolillo


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302.       Paolillo is employed as a police officer by NYPD.

303.       Paolillo has strongly held religious objections against the use of COVID-19 vaccines.

304.       Paolillo expressed his objections to COVID-19 vaccines in an administrative application for a

religious accommodation which he submitted to NYPD.

305.       Paolillo’s application which was administratively denied. Paolillo’s application was

administratively denied.

306.       On February 8, 2022 Paolillo received a revised statement of denial for his application and was

given a short time to make an appeal from it. If his appeal is denied, he expect to suffer termination of

his employment unless he accepts vaccination.

307.       Paolillo feels tremendous pressure every day to abjure his faith and get vaccinated.

Dennis Pillet

308.       Pillet is a long-time FDNY employee. He holds sincere religious beliefs that it would be

ungodly to accept vaccination with a COVID-19 vaccine.

309.       Pillet applied for a religious accommodation to the vaccination requirement, which was denied

because of the “potential for undue hardship.”

310.       Pillet submitted an appeal of the denial to the Citywide Appeals Panel. He never received an

official denial notice from the panel, but he received a communication explaining why his appeal was

denied.

311.       Pillet was put on leave without pay but continued to report for work. He submits to weekly

testing.

312.       Pillet knows he could be terminated any day, and this subjects him to pressure to give in,

betray his faith, and accept vaccination.

Matthew Rivera


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313.      Rivera works for Consolidated Edison in New York City. He is not vaccinated against

COVID-19.

314.      Rivera holds strong religious objections to the Covid-19 vaccines.

315.      Rivera was informed on multiple occasions by his employer is subject to a vaccine mandate

and that it requires him to get vaccinated.

316.      Rivera submitted a request for exemption from the vaccination requirement with his employer.

317.      A representative of the employer contacted Rivera asking for more information. Rivera asked

for more time to do so.

318.      Rivera has not heard from his employer but knows that is is possible that the employer will

terminate him.

319.      Rivera is under constant pressure to renounce his religious position and get vaccinated.

Laura Satira

320.      Satira was formerly employed by St. Bernard’s Catholic Academy.

321.      When her employer became subject to the City’s vaccine mandates, Satira was informed that

she needed to get vaccinated.

322.      Satira has strong and sincere religious beliefs that preclude her from taking the COVID-19

vaccines.

323.      Satira submitted a request for religious accommodation to her employer, who informed her

that no religious exemption or accommodation was available, and terminated Satira’s employment.

Frank Schimenti

324.      Plaintiff Frank Schimenti has been employed by the NYC DOB for the past 25 years, and

currently serves as the Assistant Chief Plan Examiner and Project Advocate for the Borough of Staten

Island.


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325.   He possesses deeply held religious beliefs that prevent him from receiving any of the Covid-19

vaccines.

326.   On or about October 27, 2021, Schimenti submitted his request for a religious exemption to

the DOB, which was denied on November 4, 2021.

327.   Schimenti appealed this decision on November 9, 2021, and the DOB denied his appeal on

December 6, 2021, with no explanation.

328.   On December 10, 2021, he was placed on leave without pay.

329.   On January 31, 2022, Schimenti received an email from the DOB stating that he has until 5

p.m. on February 11, 2022 to submit proof of vaccination in order to maintain his employment.

330.   He is in deep distress, as the DOB is forcing him to choose between his faith and his job.

James Schmitt

331.   Plaintiff James Schmitt has been employed by Parks as a plumber for the past 13 years.

332.   Schmitt is a Christian and has sincerely held religious beliefs that prevent him from getting the

Covid-19 vaccination.

333.   Schmitt submitted a request for a religious exemption on October 27, 2021 and Parks denied

his request on November 17, 2021.

334.   He submitted his appeal on November 22, 2021, which Parks also denied on December 28,

2021. Schmitt was then placed on leave without pay.

335.   Because Schmitt felt he had no choice but to extend his leave without pay and keep his health

insurance until June 30, 2022—which is an option Parks gave him—I signed a waiver which was a

condition of this option.

336.   The waiver, which he signed under protest and without prejudice to the claim that the religious

accommodation process was unconstitutional, violated the Older Workers Protection Act because he


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did not have three weeks to review it.

Mass Terminations of Other Class Members

337.   Pursuant to a decision recently announced by Mayor Adams, the Defendants have sent mass

notices of termination to members of the plaintiff Class. Mayor Adams has defended these firings,

characterizing them not as “firing,” but as “quitting” by the City’s employees.

338.   Many of these employees face a termination date of February 11, 2022, which is tomorrow.

339.   Many of the other employees face a February 14 termination date.

340.   We are confident that there will be others who share Liz Delgado’s termination date of

February 22, 2022, and that more terminations are yet to be announced for other dates in the future.

341.   The mass termination of City employees who have refused to obey the various vaccine

mandates because of their firmly held religious beliefs is a tremendous injustice that urgently needs to

be addressed – and immediately.


                                 FIRST CLAIM FOR RELIEF
       (Liability under the Free Exercise Clause By All Plaintiffs Against All Defendants)

342.   Plaintiffs reallege and incorporate by reference all paragraphs of this Complaint as if fully set

forth herein.

343.   The Mandates are unconstitutional, both facially, including as applied through widespread

policies and practices, and as applied to the plaintiffs and others, because they violate their right to

religious freedom under the First Amendment.

344.   The Free Exercise Clause of the First Amendment, applicable to the States under the

Fourteenth Amendment, provides that Congress (and by extension, State and City governments) shall

make no law prohibiting the free exercise of religion.

345.   Laws that burden religion are subject to strict scrutiny under the Free Exercise Clause

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particularly when they are not neutral or generally applicable.

346.   Government fails to act neutrally when it proceeds in a manner intolerant of religious beliefs

or restricts practices because of their religious nature. Indicia of animus need not appear in the text of

the regulation, but must be examined in context through scrutiny of legislative history, related

regulations and policies, implementing policies and commentary by decision-makers, among other

sources.

347.   Mayor de Blasio, who was the architect of these Mandates, openly expressed animus towards

unorthodox religions, admitting to the press that he is convinced by the Pope that scripture does not

support a religious objection to vaccination, and stating that religious objections that do not comport

with orthodoxy, as the mayor interprets it, will be denied an exemption from the Mandates. Official

policies subsequently adopted by the various City departments and agencies mirrored the mayor’s

admission that the City intended to impose a special disability on employees with unorthodox

religious viewpoints.

348.   A law is not generally applicable if it invites the government to consider the particular reasons

for a person’s conduct by providing a mechanism for individualized exemptions.

349.   All of the Mandates governing City employees (which constitute most of the Mandates)

provide for highly individualized determinations by government officials about whether the

employees’ religious beliefs are valid and whether they seem sincere. Particularly given the City’s

adoption of brazenly discriminatory standards to judge these applications, and the widespread pattern

of hostility and abuse, such unbridled discretion render the Mandates invalid as a facial matter.

350.   A government policy can survive strict scrutiny under the Free Exercise Clause only if it

advances interests of the highest order and is narrowly tailored to achieve those interests. Put another

way, so long as the government can achieve its interests in a manner that does not burden religion, it


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must do so.

351.   Here, there is no compelling reason to mandate vaccines, as the COVID-19 vaccines cannot

stop the spread of disease.

352.   Moreover, to the extent that stopping the spread of COVID-19 is the interest, far more

effective and less intrusive measures exist that could be adopted instead.

       WHEREFORE, Plaintiffs ask the Court to declare that the Mandates aare invalid on their face

and as applied as a facial matter generally to all employees subject to them, and individually to the

Plaintiffs and the Class because they violate the Free Exercise Clause of the First Amendment to the

United States Constitution, to permanently enjoin their enforcement against employees asserting

sincere religious objection to vaccination, and to order that all employees who have been adversely

affected by the Mandates be reinstated with back pay and restoration of time in service, seniority and

tenure rights, to award actual, consequential and nominal damages to Plaintiffs and Class Members,

and to award attorney’s fees and costs to Plaintiffs.



                                SECOND CLAIM FOR RELIEF
       (Liability under the Establishment Clause By All Plaintiffs Against All Defendants)

353.   Plaintiffs reallege and incorporate by reference all paragraphs of this Complaint as if fully set

forth herein.

354.   The Mandates violate the Establishment Clause because the City declared, in implementing

them, that they intended to preference orthodox religious beliefs over unorthodox or personally held

beliefs, and the City specifically noted that they would preference Christian Scientists. Under the

Larson test, this requires strict scrutiny, which the City cannot withstand.

355.   The Mandates also violate the Establishment Clause because they fail the coercion test, and are

enforced by the City to coerce everyone with minority religious views on vaccines to violate their
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faith and get vaccinated, or lose the ability to earn income anywhere in New York City for the

foreseeable future.

        WHEREFORE, Plaintiffs ask the Court to declare that the Mandates are unconstitutional as

applied facially through general policy and practice, and as applied to the Plaintiffs and the Class

because they violate the Establishment Clause of the First Amendment to the United States

Constitution, to permanently enjoin their enforcement against employees asserting sincere religious

objection to vaccination, and to order reinstatement to all who have been adversely affected by the

Mandates with back pay and restoration of time in service, seniority and tenure rights, to award actual,

consequential and nominal damages to Plaintiffs and Class Members, and to award attorney’s fees and

costs to Plaintiffs.



                               THIRD CLAIM FOR RELIEF
       (Hybrid Rights Claim: Violation of Substantive Due Process Rights Guaranteed by
                The Fourteenth Amendment to the United States Constitution
                            And First Amendment Rights Claims)

356.    The Plaintiffs reallege and incorporate by reference the allegations recited in all paragraphs of

this Complaint as if fully set forth herein.

357.    Plaintiffs have a protected substantive due process right to be free from the forced or coerced

administration of medical products, especially medical products that are experimental or could cause

them harm.

358.    This right is also a fundamental human right, so widely recognized as to be defined by the

world courts, the laws of nations, and by the Second Circuit Court of Appeals and the Supreme Court

of the United States as a Jus Cogens norm.

359.    As well, or in the alternative, this right to refuse medicine is secured by the Due Process


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Clause of the United States Constitution and corresponding provisions in the New York State

Constitution, international protocols and treaties adopted by and entered into by the United States, and

by the laws and regulations of the United States and New York, to be free from burdens on rights

deemed “fundamental” in nature.

360.    All of the available COVID-19 vaccines are still experimental in nature.

361.    They were rushed to market in a matter of months, skipping or glossing over most steps and

avoiding years of the normally required testing process.

362.    The only available vaccines in this country are available under Emergency Use Authorization,

which forbids compulsory mandates.

363.    The FDA has approved two vaccines – Pfizer's “Comernaty” vaccine and Moderna’s Spikevax

- but neither is available in available in the United States yet, rendering this fact meaningless for all

operative purposes.

364.    Even if Comernaty and Spikevax were available, or other vaccines were licensed, these

vaccines are all still undergoing clinical trials and are still blatantly experimental in nature.

365.    Under international law, national law, state law and local law, experimental medical products

cannot be mandated.

366.    All vaccines, including these ones, can cause harm to some people. People with natural

immunity face a greater risk of harm from COVID-19 vaccines as do certain demographic groups

represented in this class – including men under twenty-five and people with certain pre-existing

conditions.

367.    Under the United States Constitution, people also have a fundamental right to refuse any

medicine, whether it is experimental or not, even lifesaving medication. The Supreme Court has also

recognized that making medical decisions free from state interference is a fundamental right, and that


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the right to bodily autonomy is one of the most sacred and well-protected rights.

368.   Considering the serious rights at stake, and the dearth of evidence to show this policy is

necessary or effective in light of the fact that the vaccinated can transmit disease and have inferior

immunity to those who have caught the disease, there is no rational reason to mandate vaccines for

school employees. Given that the vaccines are still experimental, this mandate shocks the conscience.

369.   Moreover, the City lacks the police power to intervene in medical decisions that cannot

meaningfully stop the spread of disease. The police power is for protection of the greater community,

not protection of the individual against himself. Making medical decisions such as this are the

individual’s sole and sacred right.

370.   The Mandates are not narrowly tailored to impose the least restrictive burdens on fundamental

rights. Rather, it is intentionally tailored to create an outsized burden in order to coerce participation

in experimental medicine for no apparent reason.

371.   Plaintiffs have no adequate remedy at law available against defendants for the injuries and the

irreparable harm they imminently suffer as a direct result of the Mandates.

       WHEREFORE, Plaintiffs ask the Court to declare that the Mandates are invalid facially and as

applied because they violate the substantive due process rights of all covered employees, as well as

hybrid rights under the First and Fourteenth Amendment, to permanently enjoin their enforcement

against employees asserting sincere religious objection to vaccination, and to order reinstatement of

all employees who have been adversely affected by the Mandates with back pay and restoration of

time in service, seniority and tenure rights, to award actual, consequential and nominal damages to

Plaintiffs and Class Members, and to award attorney’s fees and costs to Plaintiffs.


                                 FOURTH CLAIM FOR RELIEF
                          (Violation of the Equal Protection Clause of the

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                     Fourteenth Amendment to the United States Constitution
                              and the New York State Constitution)

372.               On behalf of themselves and the Class, the Plaintiffs reallege and incorporate by

reference all paragraphs of this Complaint as if fully set forth herein.

373.               By their actions, as described herein, Defendants, acting under color of statute,

ordinance, regulation, custom, or usage, subjected Plaintiffs to the deprivation of the rights,

privileges, or immunities secured by the United States Constitution and New York Constitution.

       374.        The Mandates violate the Equal Protection Clause of the Fourteenth Amendment

       to the United States Constitution (and the corresponding provision of the New York State and

       New York City analogous statutes) because they discriminate against unvaccinated people

       who need to exercise their fundamental rights to refuse experimental vaccines that conflict

       with their sincerely held religious beliefs.

375.               There is no rational basis for this discrimination. Plaintiffs pose no more danger to

others than a person who is vaccinated. Both groups are equally able to spread COVID-19.

376.               The policy of discriminating based on an individual’s willingness or ability to

subject themselves to medical experimentation or to give up their deeply held religious beliefs

shocks the conscience and cannot be justified as relating to any rational, permissible goal. It is not

grounded in science, but rather in the effort to coerce people into waiving their protected rights.

377.               Plaintiffs face the loss of their employment, ability to practice their vocation,

contractual rights and violation of civil rights and liberties as a result of the discriminatory

regulation.

       378.        Moreover, the policies adopted by the City facially discriminate against Plaintiffs

       and their similarly situated class members on the basis of religion by refusing to afford

       accommodations to people who hold minority or unorthodox religious viewpoints.
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379.                The acts or omissions of Defendants were conducted within the scope of their

official duties and employment under color of law.

380.                While performing those duties, Defendants intentionally deprived Plaintiffs of

securities, rights, privileges, liberties, and immunities secured by the Constitution of the United

States of America and the State of New York by arbitrarily discriminating against them based on

medical status, religious beliefs, and creed.

        WHEREFORE, Plaintiffs ask the Court to find that the Mandates are invalid facially and as

applied because they violate the Equal Protection Clause of the Fourteenth Amendment to the United

States Constitution, to permanently enjoin their enforcement against employees asserting sincere

religious objection to vaccination, and to order reinstatment to all employees who have been adversely

affected by the Mandates with back pay and restoration of time in service, seniority and tenure rights,

to award actual, consequential and nominal damages to Plaintiffs and Class Members, and to award

attorney’s fees and costs to Plaintiffs.


                                   FIFTH CLAIM FOR RELIEF
               (Violation of the Supremacy Clause of the United States Constitution
             and Violations of Federal Statutory Provisions Governing EUA products
                      and Consent to Participation in Clinical Investigations)

381.                On behalf of themselves and the Class, the Plaintiffs reallege and incorporate by

reference the allegations recited in all paragraphs of this Complaint as if fully set forth herein.

382.                Federal laws and regulations governing the approval and administration of medical

products preempt all contrary or inconsistent laws of the states and/or local governments.

383.                The Mandates are patently contrary to United States law, and thus preempted and

invalid.

384.                Title 21 of the United States Code, Section 360bbb-3(e)(1)(A)(ii), and regulations
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and internal protocols of the United States Food and Drug Administration promulgated thereunder,

provide in relevant part that all individuals to whom an investigational product is to be administered

under an Emergency Use Authorization be informed “of the option to accept or refuse administration

of the product.”

385.               Because all available vaccines in New York are each investigational products, with

some vaccines, under some circumstances, only permitted for use under an Emergency Use

Authorization, the laws and regulations of the United States prohibit state and local governments

from requiring them for any person who does not consent to their administration, including

Plaintiffs.

386.               Plaintiffs do not consent to being vaccinated with an experimental vaccine,

especially one which violates their sincerely held religious beliefs.


    387.               Title 21, Part 50 of the Code of Federal Regulations governs the protection of

    human subjects in the conduct of all clinical investigations regulated by the U.S. Food and Drug

    Administration.

    388.               21 C.F.R. § 50.20 provides that, “[e]xcept as provided in §§ 50.23 and 50.24,

    no investigator may involve a human being as a subject in research covered by these regulations

    unless the investigator has obtained the legally effective informed consent of the subject or the

    subject's legally authorized representative.”

    389.               EUA vaccines and the licensed Comirnaty vaccine and Spikevax vaccine are

    all still being subjected to clinical trials. Population-wide surveillance and data are still being

    gathered for all of them, whether the “test subjects” consent or not. Whether licensed or not, all

    available COVID-19 vaccines are classified as experimental medicine.

    390.               None of the exemptions provided in sections 50.23 and 50.24 apply to
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Plaintiffs.

391.                 Plaintiffs are competent to make a decision concerning medical treatment and

experimentation and will not consent.

392.                 Accordingly, the Mandates also violate federal law and regulations governing

the administration of experimental medicine and is thus preempted.

393.                 Plaintiffs have no adequate remedy at law available against Defendants for the

injuries and the irreparable harms they are suffering as a direct result of the Mandates.

    WHEREFORE, Plaintiffs respectfully request that the Court enter a declaratory judgment

that the Mandates violates and is preempted by the laws and regulations of the United States

governing the administration of investigational medical products, for an injunction prohibiting

enforcement of the Mandates, for attorneys’ fees, costs pursuant to 42 U.S.C. § 1988, and such

further relief as the Court deems just.

                                      REQUEST FOR RELIEF

394.    Plaintiffs respectfully ask this Court for the following relief:

        1.        Certifying the proposed Class pursuant to Rule 23;

        2.       Declaring the Mandates unconstitutional;

        3.       Enjoining enforcement of the Mandates;

        4.       Reinstating any employees who were suspended or disciplined for failure to

              follow the mandate against religious convictions; and

        5.       Damages, Attorney’s fees and costs to Plaintiffs.

        6.       On all Claims for Relief: awarding relief to the Class equivalent to the relief

              requested for the individual named Plaintiffs identified herein.
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        7.      On all Claims for Relief: awarding costs of suit; investigation costs; payment of

             reasonable attorneys’ fees; declaratory relief, injunctive relief, and such other and

             further relief as the Court may deem just and proper.

                                           CONCLUSION

        Plaintiffs respectfully ask that the Court act immediately to enjoin the Defendants from

terminating thousands of their religiously-observant employees, who have thus far received

intolerant and unconstitutional mistreatment of their religious accommodation requests at the

hands of City employees. In the long run, Plaintiffs also request the larger relier set forth in the

final section of the instant Complaint.

                                           DEMAND FOR
                                            JURY TRIAL

Plaintiffs and the Class respectfully demand a trial by jury for all issues so triable in this action.

Dated: New York, New York
       February 10, 2022
                                        Respectfully submitted,

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